Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 1 of 113 PageID #:16217




                         UNITED STATES DISTRICT COURT
           NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION




 Hangzhou Chic Intelligent Technology Co.
         and Unicorn Global Inc.,

                Plaintiffs
                                                    Case No.: 20-cv-04806
                    v.                             Judge Thomas M. Durkin

       THE PARTNERSHIPS AND                      Magistrate Judge Jeffery Cole
  UNINCORPORATED ASSOCIATIONS
     IDENTIFIED ON SCHEDULE A,

               Defendants.




                   EXPERT DECLARATION OF PAUL HATCH
      REGARDING INFRINGEMENT OF U.S. PATENTS D737,723, D738,256,
                               D784,195, and D785,112

     AND REBUTTAL DECLARATION TO JIM GANDY AND LANCE RAKE
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 2 of 113 PageID #:16218




                                            TABLE OF CONTENTS


    INTRODUCTION ................................................................................................................ 1

    EXECUTIVE SUMMARY .................................................................................................. 1

    SCOPE OF OPINIONS ........................................................................................................ 3

    A.     Background and Qualifications .................................................................................... 3

    B. Compensation and Prior Testimony.............................................................................. 4

    C. Materials and Information Considered ......................................................................... 4

    LEGAL STANDARDS ........................................................................................................ 4

    A. The Limiting Purpose of a Design Patent ..................................................................... 4

    B. Legal Principles in Analysis of Design Patent Infringement ........................................ 5

    C. Claim Construction in Design Patents .......................................................................... 6

    D. The Ordinary Observer Test ......................................................................................... 8

    E.    The Significance of Prior Art ........................................................................................ 9

    F.    Definition of the Ordinary Observer ............................................................................. 9

    G. Functionality in Design Patents .................................................................................. 10

    ANALYSIS OF THE PATENTS-IN-SUIT AND THE PRIOR ART ............................... 11

    A. The Patents-In-Suit ..................................................................................................... 11

    B. Examination of the D’723 Patent ................................................................................ 12

    C. Examination of the D’256 Patent ................................................................................ 14

    D. Examination of the D’195 Patent ................................................................................ 17

    E.    Examination of the D’112 Patent ................................................................................ 19

    F.    The Cited Prior Art Show The Patents-In-Suit Have A Broad Scope ........................ 21

    ANALYSIS OF FUNCTIONALITY ................................................................................. 25
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 3 of 113 PageID #:16219




    OVERVIEW OF THE ACCUSED PRODUCTS .............................................................. 28

    THE ACCUSED PRODUCTS INFRINGES THE PATENTS-IN-SUIT .......................... 36

    A. Accused Product Gyroor A ......................................................................................... 37

          1.    The Accused Product Gyroor A Infringes on the D‘723 Patent .......................... 37

          2.    The Accused Product Gyroor A Infringes on the D‘256 Patent .......................... 39

          3.    The Accused Product Gyroor A Infringes on the D‘195 Patent .......................... 42

    B. Accused Product Gyroor B ......................................................................................... 44

          1.    The Accused Product Gyroor B Infringes on the D‘723 Patent .......................... 44

          2.    The Accused Product Gyroor B Infringes on the D‘256 Patent .......................... 47

          3.    The Accused Product Gyroor B Infringes on the D‘195 Patent .......................... 49

          4.    The Accused Product Gyroor B Infringes on the D‘112 Patent .......................... 52

    C. Accused Product Gyroor C ......................................................................................... 54

          1.    The Accused Product Gyroor C Infringes on the D‘723 Patent .......................... 54

          2.    The Accused Product Gyroor C Infringes on the D‘256 Patent .......................... 57

          3.    The Accused Product Gyroor C Infringes on the D‘195 Patent .......................... 59

    D. Accused Product Gyroor D ......................................................................................... 61

          1.    The Accused Product Gyroor D Infringes on the D‘723 Patent .......................... 61

          2.    The Accused Product Gyroor D Infringes on the D‘256 Patent .......................... 64

          3.    The Accused Product Gyroor D Infringes on the D‘195 Patent .......................... 66

          4.    The Accused Product Gyroor D Infringes on the D‘112 Patent .......................... 68

    E.    Accused Product Gyroor E ......................................................................................... 71

          1.    The Accused Product Gyroor E Infringes on the D‘723 Patent .......................... 71

          2.    The Accused Product Gyroor E Infringes on the D‘256 Patent .......................... 73

          3.    The Accused Product Gyroor E Infringes on the D‘195 Patent .......................... 76

    ANALYSIS OF THE RAKE DECLARATION ................................................................ 78
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 4 of 113 PageID #:16220




    A. The Rake Declaration Relies Upon An Unrelated Patent ........................................... 78

    B. The Rake Declaration Relies Upon an Incorrect Understanding of
         The Ordinary Observer Test ....................................................................................... 79

    C. The Rake Declaration is Missing Critical Steps of Infringement Analysis ................ 79

    D. Mr. Rake’s Evidence Improperly Relies Upon Dimensions ....................................... 80

    E.   Mr. Rake Considers Ornamental Elements of The Claimed Designs as
         Functional Without Analysis or Evidence .................................................................. 81

    F.   The Rake Declaration Improperly Relies Upon Comparing Unclaimed Areas .......... 82

    G. The Rake Declaration Fails To Use The Correct Viewpoint Through
         Which To Base Opinions ............................................................................................ 82

    H. Mr. Rake Improperly Relies Upon Whether Individual Differences Are
         ‘Obvious’ Instead of Comparing The Overall Impression ......................................... 83

    I.   Mr. Rake Improperly Relies Upon Small, Isolated Differences in
         Specific Views And Not The Overall Impression ...................................................... 84

    J.   The Rake Declaration Omits Critical Views and Evidence ........................................ 86

    K. The Reliability And Credibility of the Rake Declaration Is
         Undermined By His Errors ......................................................................................... 86

    ANALYSIS OF THE GANDY DECLARATION ............................................................ 88

    A. The Gandy Declaration fails to construe the scope of the Patents-In-Suit ................. 88

    B. The Gandy Declaration Omits Critical Steps of The Ordinary Observer Test ........... 88

    C. The Gandy Declaration Fails to Define The Level Of Attention Of The
         Ordinary Observer ...................................................................................................... 89

    D. The Gandy Declaration Applies A Trained Eye Instead Of The
         Ordinary Level Of Attention Of The Ordinary Observer ........................................... 90

    E.   The Gandy Declaration Conducts the Analysis Only Through Skewed Photos and Not
         From Samples Of The Accused Products ................................................................... 91

    F.   The Gandy Declaration Relies on Improper Analysis Of The Markings ................... 93
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 5 of 113 PageID #:16221




    G. The Gandy Declaration Relies on “Some Differences” as the
          Evidence for Infringement .......................................................................................... 93

    H. Mr. Gandy Improperly Relies Upon Small, Isolated Differences in
          Specific Views and Not the Overall Impression ......................................................... 93

    I.    The Gandy Declaration Fails to Provide Evidence to Support Its Opinions .............. 94

    J.    Analysis of Mr. Gandy’s Rebuttal of Hatch Infringement Report.............................. 96

    CONCLUSION .................................................................................................................. 97

    RESERVATION OF RIGHTS ........................................................................................... 99
 Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 6 of 113 PageID #:16222




       INTRODUCTION
       1.      I have been retained by counsel as an independent expert witness to provide my
opinion regarding the above litigation matter, and matters related to the U.S. Patents D737,723,
D738,256, D784,195, and D785,112 (“the Patents-In-Suit”). This Declaration is in support of
Plaintiffs Hangzhou Chic Intelligent Technology Co. and Unicorn Global Inc.’s (collectively
“Hangzhou”) claims of patent infringement against Defendants The Partnerships And
Unincorporated Associations Identified On Schedule A (“Gyroor”).
       2.      Hangzhou requested that I opine on the similarities between the design claimed in
each of the Patents-In-Suit and Defendants’ accused hoverboard products “Gyroor A”, “Gyroor
B”, “Gyroor C”, “Gyroor D”, and “Gyroor E” (“the Accused Products”).
       3.      I understand my task is to review materials and offer my opinion, perspective and
insights regarding this subject. I hold the opinions expressed in this declaration, but as my study
of the case continues, I may acquire additional information that leads to new insights relevant to
these opinions. With that in mind, I reserve the right to supplement this declaration if and when
such additional information becomes known to me. I may also provide supplemental and rebuttal
declarations in response to arguments which may be proposed by the Defendants.

       EXECUTIVE SUMMARY
       4.      I have considered the appearance of the Accused Products and the claimed designs
of each of the Patents-In-Suit (“the Claimed Designs”) and from the viewpoint of the ordinary
observer who is familiar with the relevant prior art. Having performed this analysis and evaluation,
it is my opinion that:
   •   The overall appearance of each of the Accused Products is not “plainly dissimilar” to one
       or more of the claimed designs of the Patents-In-Suit, as I understand that term to be
       understood in Patent Law.
   •   An ordinary observer familiar with the prior art, giving such attention as a purchaser
       usually gives, would find the overall appearance of the Accused Products to be
       substantially the same as the overall appearance of one or more of the Claimed Designs in
       light of the prior art, inducing him or her to purchase the each of the Accused Products
       supposing it to be one or more of the Claimed Designs.



                                                 1
 Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 7 of 113 PageID #:16223




       5.     I have also examined the Expert Declaration of Lance Rake, signed August 21,
2021 (“the Rake Declaration”) and it is my opinion that:
   •   The reliability and credibility of the Rake Report is undermined by many errors.
   •   The opinions in the Rake Report include contradictory positions that may further
       significantly undermine his credibility.
   •   The analysis in the Rake Report relies upon an incorrect understanding of the ordinary
       observer test and also omits defining the level of attention of the ordinary observer.
   •   The Rake Report is missing critical steps of infringement analysis including failing to
       expressly construe the scope of the Patents-In-Suit.
   •   The opinions in the Rake Report rely upon unrelated patents without providing analysis or
       evidence.
   •   Mr. Rake’s evidence improperly relies upon dimensions and considers ornamental
       elements of the claimed designs as functional without analysis or evidence.
   •   Mr. Rake improperly relies upon comparing unclaimed areas and also relies upon
       individual differences being ‘obvious’ instead of comparing the overall impression.
       6.     I have also examined the Expert Declaration of Jim Gandy, signed September 12,
2022 (“the Gandy Declaration”) and it is my opinion that:
   •   The reliability and credibility of the Gandy Report is undermined by his failure to apply
       the correct legal procedure or analysis for infringement analysis.
   •   The Gandy Report is missing critical steps of infringement analysis including failing to
       expressly construe the scope of the Patents-In-Suit.
   •   The analysis in the Gandy Report relies upon an incorrect understanding of the ordinary
       observer test and also fails to define the level of attention of the ordinary observer.
   •   The Gandy Report applies a designer’s eye instead of the ordinary level of attention of the
       ordinary observer.
   •   Mr. Gandy improperly relies upon small, isolated differences in specific views and not the
       overall impression and relies on “some differences” as evidence of infringement.
   •   Mr. Gandy relies on improper analysis of the brand markings.



                                                  2
 Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 8 of 113 PageID #:16224




   •   Mr. Gandy conducts the analysis only through skewed photos and not from samples of the
       Infringing Products and fails to provide evidence to support its opinions.

       SCOPE OF OPINIONS

        A. Background and Qualifications
       7.      I am the recently retired CEO of TEAMS Design USA, a global product design
consultancy. I have over 25 years of product design and industrial design experience and have
designed many mass-produced products, including consumer electronics, personal mobility
equipment such as Segways, and electric bicycles. In my company, I was actively involved in all
phases of the development process, including the user research, idea conceptualization, styling,
visual brand language, development, engineering and overseeing the final production stages.
       8.      I reside at 718 S. Oakley Blvd, Chicago, Illinois. I hold a Bachelor of Arts degree
with honors (BA (Hons)) in Design for Industry (Industrial Design) from the University of
Northumbria at Newcastle, United Kingdom. While studying to obtain my honors degree in
Industrial Design, I took courses covering subjects including technical drawing, computer aided
drawing, product styling and brand language, ergonomics, product evaluation, usability testing,
production techniques, prototyping, mechanical engineering, and production techniques.
       9.      In the course of my work as a designer and managing teams of designers, I have
gained an understanding of the training, knowledge, skills, and abilities of a person skilled in the
art of product design and industrial design. Through this work, I have also gained an understanding
of how a person who purchases a particular product perceives and appreciates the visual
appearance and or functional merits of a product’s design, and I use this understanding to opine
on how the purchaser or ordinary observer would answer questions raised in the examination of
design patents, utility patents, trademarks, and trade dress claims.
       10.     I am the named inventor in over 45 design and utility patents. I have written papers
and spoken at many universities across the U.S. on the subject of visual perception, where I share
information from psychological and neurological studies into how humans perceive things such as
physical products, what physical attributes we notice (if any), and how meaning is attached to what
we see. I am currently teaching a graduate course on this subject matter at the University of Illinois
at Chicago.



                                                  3
 Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 9 of 113 PageID #:16225




       11.     I was recently nominated into the prestigious IDSA Academy of Fellows. I have
also been awarded many design awards, including the “Design of the Decade Award” from
Business Week, and the IDEA “Juror’s Award” in 2020. In 2016 I was elected to the board of
IDSA as Director-at-Large. Further information on my professional experience is detailed in my
curriculum vitae, which is set forth in Appendix A. I have previously provided expert testimony
in many other patent-related matters, a detailed list of cases for which I have provided expert
testimony is attached as Appendix B.

         B. Compensation and Prior Testimony
       12.     I am being compensated at a rate of $450 per hour to provide analysis and testimony
in this proceeding. My compensation is not contingent on the outcome of any matter or the
specifics of my testimony. I have no financial interest in the outcome of this matter.

         C. Materials and Information Considered
       13.     In forming my opinions, I have reviewed the claimed design of the Patents-In-Suit;
their file history; the prior art cited on the face of the patent; and the Accused Products. The list of
materials I reviewed in my analysis is included in Appendix C.

       LEGAL STANDARDS
       14.     I am not a lawyer. Rather, I am an industrial designer and base my analysis on the
legal guidelines provided to me as outlined below.

         A. The Limiting Purpose of a Design Patent
       15.     I understand that a U.S. patent does not grant the owner the right to use the
invention, rather, the owner is granted the right, for a limited period of time, to prevent others from
making, using, offering for sale, or selling the patented invention in the United States or importing
the patented invention into the United States. In other words, the government grants the patent
owner the right to limit other people’s use of the invention. To construe the scope of a design
patent, I understand that one must also consider the prosecution history of the patent application.
See Goodyear Tire & Rubber Co. v. Hercules Tire & Rubber Co. Inc., 162 F.3d 1113, 1116 (Fed.
Cir. 1998).




                                                   4
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 10 of 113 PageID #:16226




        B. Legal Principles in Analysis of Design Patent Infringement
       16.     It is my understanding that “[w]hether a design patent is infringed is determined by
first construing the claim to the design, when appropriate, and then comparing it to the design of
the accused device.” OddzOn Prods., Inc. v. Just Toys, Inc., 122 F.3d 1396, 1404 (Fed. Cir. 1997)
(citing Elmer v. ICC Fabricating, Inc., 67 F.3d 1571, 1577 (Fed. Cir. 1995)).
       17.     I understand that, under precedent from the U.S. Court of Appeals for the Federal
Circuit (“the Federal Circuit”), “trial courts have a duty to conduct claim construction in design
patent cases, as in utility patent cases[.]” Egyptian Goddess, Inc. v. Swisa, Inc., 543 F.3d 665, 679
(Fed. Cir. 2008) (en banc). “[T]he court has recognized that design patents ‘typically are claimed
as shown in drawings,’ and that claim construction ‘is adapted accordingly.’” Id. (quoting Arminak
& Assocs., Inc. v. Saint-Gobain Calmar, Inc., 501 F.3d 1314, 1319 (Fed. Cir. 2007)). Given the
“difficulties entailed in trying to describe a design in words, the preferable course . . . [is] not to
attempt to ‘construe’ a design patent claim by providing a detailed verbal description of the
claimed design.” Egyptian Goddess, 543 F.3d at 679.
       18.     As I understand, after a design patent’s claim is construed, the claim “must be
compared to the accused design to determine whether there has been infringement.” Elmer, 67
F.3d at 1577. I understand that infringement occurs when an ordinary observer “giving such
attention as a purchaser usually gives, [deems] two designs are substantially the same” meaning
“the resemblance is such as to deceive such an observer, inducing him to purchase one supposing
it to be the other.[]” Egyptian Goddess, 543 F.3d at 670 (quoting Gorham Co. v. White, 81 U.S.
511, 528 (1872)).
       19.     I am also aware that infringement is determined “in light of the prior art” by
“applying the ordinary observer test through the eyes of an observer familiar with the prior art.”
Egyptian Goddess, 543 F.3d at 677. Thus, the hypothetical ordinary observer is presumed to have
a complete knowledge of all relevant prior art.
       20.     I understand that a design patent infringement analysis is a two-step process. The
first step is to consider whether the Claimed Design and Accused Products are “sufficiently
distinct” also known as “plainly dissimilar.” Ethicon Endo-Surgery, Inc. v. Covidien, Inc., 796
F.3d 1312, 1335 (Fed. Cir. 2015) (citing Egyptian Goddess, 543 F. 3d at 678). If the Claimed




                                                  5
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 11 of 113 PageID #:16227




Design and the Accused Products are found to be plainly dissimilar, there is no patent
infringement. Id.
       21.     But, “if the claimed and accused designs are not plainly dissimilar,” I understand
that the second step in an infringement analysis involves a three-way comparison to compare “the
patented and accused designs in the context of similar designs found in the prior art.” Egyptian
Goddess, 543 F.3d at 674. “[I]f the accused design has copied a particular feature of the claimed
design that departs conspicuously from the prior art, the accused design is naturally more likely to
be regarded as deceptively similar to the claimed design, and thus infringing.” Id. at 677.
       22.     As I understand, these “[d]ifferences, however, must be evaluated in the context of
the Claimed Design as a whole, and not in the context of separate elements in isolation. Where, as
here, the Claimed Design includes several elements, the fact finder must apply the ordinary
observer test by comparing similarities in overall designs, not similarities of ornamental features
in isolation.” Ethicon, 796 F.3d at 1335 (citing Richardson v. Stanley Works, Inc., 597 F.3d 1288,
1295 (Fed. Cir. 2010). See also Crocs, Inc. v. Int’l Trade Comm’n, 598 F.3d 1294, 1303-1304
(Fed. Cir. 2010). “[T]he mandated overall comparison is a comparison taking into account
significant differences between the two designs, not minor or trivial differences that necessarily
exist between any two designs that are not exact copies of one another.” Int'l Seaway Trading Co.
v. Walgreens Corp., 589 F.3d 1233, 1243 (Fed. Cir. 2009).
       23.     I understand that the fact that an infringing product is marked with a trademark or
logo designating the product’s source does not, as a matter of law, negate design patent
infringement. Design patent infringement relates solely to the patented design and does not allow
of avoidance of infringement by labelling. L.A. Gear, Inc. v. Thom McAn Shoe Co., 988 F.2d 1117,
1126 (Fed. Cir. 1993).

        C. Claim Construction in Design Patents
       24.     It is my understanding that “[w]hether a design patent is infringed is determined by
first construing the claim to the design, when appropriate, and then comparing it to the design of
the accused device.” OddzOn Prods., Inc. v. Just Toys, Inc., 122 F.3d 1396, 1404 (Fed. Cir. 1997)
(emphasis added) (citing Elmer v. ICC Fabricating, Inc., 67 F.3d 1571, 1577 (Fed. Cir. 1995)).
To construe the scope of a design patent, I understand that one must consider whether the figures
identify unclaimed subject matter (e.g., features depicted in broken lines); and whether the


                                                 6
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 12 of 113 PageID #:16228




prosecution history of the application shows if the applicant disclaimed subject matter or
distinguished the Claimed Design from other ornamental designs. See Goodyear Tire, 162 F.3d at
1116.
        25.    As I understand, courts construe claims for a design patent just as for a utility patent.
Goodyear Tire, 162 F.3d at 1116. That said, I understand that the Federal Circuit has cautioned
against a detailed, verbal construction of the features in the patent drawings. Egyptian Goddess,
543 F.3d at 679. This is because a written claim construction focused on individual features may
lead the factfinder away from “consideration of the design as a whole.” Crocs, 598 F.3d at 1303.
However, while the claimed design of a design patent is better represented by an illustration, it is
helpful to the finder of fact to be provided with guidance on the overall impression of the claimed
design on the ordinary observer. Contessa Food Prods., Inc. v. Conagra, Inc., 282 F.3d 1370, 1376
(Fed. Cir. 2002).
        26.    To construe the scope of a design patent, I understand that one must consider (1)
the language of the specification to determine whether the written description disclaims,
characterizes, or limits any features; (2) whether the figures identify unclaimed subject matter (e.g.,
features depicted in broken lines); and (3) whether the prosecution history of the application shows
if the applicant disclaimed subject matter or distinguished the Claimed Design from the prior art
based on certain features present or absent in the graphics. See Goodyear Tire, 162 F.3d at 1116.
        27.    I also understand that while the claimed design of a design patent is better
represented by an illustration, it is helpful to the finder of fact to be provided with guidance on
the overall impression of the claimed design on the ordinary observer. Contessa Food Prods.,
Inc. v. Conagra, Inc., 282 F.3d 1370, 1376 (Fed. Cir. 2002).
        28.    I am also informed that the Manual of Patent Examining Procedure (“MPEP”)
provides guidance on how broken lines are to be used in design patent drawings. U.S. Pat. &
Trademark Office, Manual of Patent Examining Procedure § 1503.02 (9th ed. 2018). Section
1503.02.III notes that broken lines include “[s]tructure that is not part of the claimed design but is
considered necessary to show the environment in which the design is associated” and that structure
“may be represented in the drawing by broken lines.” Id. Such unclaimed subject matter
represented by broken lines forms no part of the claimed design.




                                                  7
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 13 of 113 PageID #:16229




       29.     I am also informed that “in analyzing infringement, the fact finder must compare
the claimed portion of the design—i.e., whatever is shown in solid lines in the patent drawings—
to the corresponding portion of the accused design.” (emphasis added) Sarah Burstein, The
“Article of Manufacture” in 1887, 32:1 Berkeley Tech. L.J. 11 (2017) (first citing Hutzler Mfg.
Co. v. Bradshaw Int’l, Inc., No. 1:11-cv-07211, 2012 WL 3031150, at *9–10 (S.D.N.Y. July 24,
2012); and then citing Egyptian Goddess. Inc. v. Swisa, Inc., 543 F.3d 665, 672 (Fed. Cir. 2008)).

        D. The Ordinary Observer Test
       30.     I understand that a design patent infringement analysis is a two-step process. The
first step, after a design patent’s claim is construed is to consider whether the claimed design and
infringing products are “sufficiently distinct” also known as “plainly dissimilar.” Ethicon, 796
F.3d at 1335 (citing Egyptian Goddess, 543 F. 3d at 678). If the Claimed Design and the infringing
products are found to be plainly dissimilar, there is no patent infringement. Id.
       31.     I also understand that while the claimed design of a design patent is better
represented by an illustration, it is helpful to the finder of fact to be provided with guidance on the
overall impression of the claimed design on the ordinary observer. Contessa Food Prods., Inc. v.
Conagra, Inc., 282 F.3d 1370, 1376 (Fed. Cir. 2002).
       32.     As I understand, “the fact finder must apply the ordinary observer test by comparing
similarities in overall designs, not similarities of ornamental features in isolation,” Ethicon, 796
F.3d at 1335 (citing Richardson v. Stanley Works, Inc., 597 F.3d 1288, 1296 (Fed. Cir. 2010)), and
“not minor or trivial differences that necessarily exist between any two designs that are not exact
copies of one another.” Int'l Seaway Trading Corp. v. Walgreens Corp., 589 F.3d 1233, 1243 (Fed.
Cir. 2009) (emphasis added).
       33.     But “if the claimed and accused designs are not plainly dissimilar,” I understand
that the second step in an infringement analysis involves a three-way comparison to compare “the
patented and accused designs in the context of similar designs found in the prior art.” Egyptian
Goddess, 543 F.3d at 674. “If the accused design has copied a particular feature of the claimed
design that departs conspicuously from the prior art, the accused design is naturally more likely to
be regarded as deceptively similar to the claimed design, and thus infringing.” Id. at 677. .




                                                  8
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 14 of 113 PageID #:16230




         E. The Significance of Prior Art
        34.     As I understand, the role of prior art is to help the finder of fact consider seemingly
small or minor details that differentiate the patented design from the prior art. “Where there are
many examples of similar prior art designs . . ., differences between the claimed and accused
designs that might not be noticeable in the abstract can become significant to the hypothetical
ordinary observer who is conversant with the prior art.” Egyptian Goddess, 543 F.3d at 678.
        35.     For the purposes of my opinion, I considered prior art to define the scope of the
hoverboard market at the time the Claimed Designs were filed. In so doing, I was able to better
discern the similarities and differences (or lack thereof) between the Claimed Designs and the
Accused Products in the eyes of the ordinary observer.
        36.     I am informed that the Egyptian Goddess case makes clear, the ultimate burden of
proving infringement is on the patent owner. Accordingly, the failure of the accused infringer to
bring forward prior art is not an admission of infringement, but rather only a concession that
knowledge of the prior art would not make infringement less likely. See Egyptian Goddess, 543
F.3d at 678-79.

         F. Definition of the Ordinary Observer
        37.     As I understand, “[t]he measure of infringement of a design patent is deception of
the ordinary observer, when such person gives the design the attention usually given by a purchaser
of the item bearing the design[.]” Goodyear Tire, 162 F.3d at 1117. Accordingly, I understand
that the hypothetical ordinary observer must be identified before applying the ordinary observer
test by focusing on the “actual product that is presented for purchase, and the ordinary purchaser
of that product.” Id.
        38.     I understand that the hypothetical ordinary observer must be identified before
applying the ordinary observer test by focusing on the actual product that is presented for purchase,
and the ordinary purchaser of that product. The hypothetical ordinary observer is different for each
case, based on the type of product at issue. The determination of the substantial similarity is based
on the viewpoint of the ordinary observer who is “not an expert in the claimed designs” but rather
one of ordinary acuteness who is a principal purchaser of the product. The hypothetical ordinary
observer is also one who is aware of the number of closely similar prior art designs and conversant
with the prior art.


                                                  9
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 15 of 113 PageID #:16231




       39.     Further, I understand that some courts have held that the ordinary observer is one
who is “not an expert in the claimed designs”, but rather “one of ordinary acuteness who is a
principal purchaser[]” of the product. Ethicon, 796 F.3d at 1337 (internal quotations and citation
omitted). That said, the ordinary observer is one who is “aware of the great number of closely
similar prior art designs” and “conversant with the prior art”. Egyptian Goddess, 543 F.3d at 676,
678.
       40.     Further, I understand that the viewpoint of the hypothetical ordinary observer is
through the “eyes of men generally” and not individuals “versed in designs in the particular trade
in question” or “engaged in the manufacture or sale of articles containing such designs”. Gorham
Co. v. White, 81 U.S. 511, 527-528 (1871). I am also informed that some courts have held that the
ordinary observer is one who is “not an expert in the claimed designs”, but rather “one of ordinary
acuteness who is a principal purchaser []” of the product. Ethicon, 796 F.3d at 1337 (emphasis
added) (internal quotations and citation omitted).
       41.      I am also informed that the “[l]ikelihood of confusion as to the source of the goods
is not a necessary or appropriate factor for determining infringement of a design patent.” Unette
Corp. v. Unit Pack Co.., 785 F.2d 1026, 1029 (Fed. Cir. 1986) (emphasis added).
       42.     Based on my experience as an Industrial Designer of commercial products,
including electronic mobility products and consumer electronics, it is my opinion that an ordinary
observer in this case is the principal purchaser of hoverboards, i.e., a consumer user or the parent
of a user, each having little or no experience purchasing hoverboards. The ordinary observer
encounters products like the Claimed Designs via online stores, television and entertainment
media, and social media, and purchases them using online stores or from ‘brick and mortar’ stores
like Best Buy or Walmart.

        G. Functionality in Design Patents
       43.     As was explained to me, to be afforded patent protection, “a design must present
an aesthetically pleasing appearance that is not dictated by function alone.” Bonito Boats, Inc. v.
Thunder Craft Boats, Inc., 489 U.S. 141, 148 (1989) (emphasis added). “[W]hether a design is
primarily functional or primarily ornamental requires viewing the claimed design ‘in its entirety.’”
Ethicon, 796 F.3d at 1329 (quoting L.A. Gear, Inc. v. Thom McAn Shoe Co., 977 F.2d 988, 1123
(Fed. Cr. 1993)). I further understand that to “entirely eliminate a structural element from the


                                                10
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 16 of 113 PageID #:16232




claimed ornamental design, even though that element also served a functional purpose” is not
permitted. Sport Dimension, Inc. v. Coleman Co., 820 F.3d 1316, 1321 (Fed. Cir. 2016).
        44.     To determine the scope of the claim, I understand that the court considers the
distinction between features of the claimed design that are “ornamental” and those that are “purely
functional.” Ethicon Endo-Surgery, 796 F.3d at 1333. I understand that a design element is “purely
functional” where its basic design is “dictated” by its functional purpose or is otherwise serves a
utilitarian purpose. Sport Dimension, 820 F.3d at 1320. I also understand that several factors
suggest that a feature is functional, including whether (1) the protected design represents the best
design, (2) alternative designs would adversely affect the utility of the specified article, (3) there
are any concomitant utility patents, (4) the advertising touts particular features of the design as
having specific utility, and (5) whether the feature is clearly dictated by function. PHG Techs.,
LLC v. St. John Cos., 469 F.3d 1361, 1366 (Fed. Cir. 2002).
        45.     It is well established that patent drawings do not define the precise proportions of
the elements and may not be relied on to show particular sizes if the specification is completely
silent on the issue. Hockerson-Halberstadt, Inc. v. Avia Grp. Int'l, Inc., 222 F.3d 951, 956 (Fed.
Cir. 2000) See also MPEP § 2125 “When the reference does not disclose that the drawings are to
scale and is silent as to dimensions, arguments based on measurement of the drawing features are
of little value.”

        ANALYSIS OF THE PATENTS-IN-SUIT AND THE PRIOR ART

         A. The Patents-In-Suit
        46.     The Patents-In-Suit are the U.S. Patents D737,723 (“the D’723 Patent”), D738,256
(“the D’256 Patent”), D784,195 (“the D’195 Patent”), and D785,112 (“the D’112 Patent”) for Self-
Balancing Vehicles and Human-Machine Interaction Vehicles. Such self-balancing vehicles are
commonly referred to as “hoverboards”.
        47.     As mentioned above, the scope of the claim of a patented design encompasses its
visual appearance as a whole, and in particular the visual impression it creates to the hypothetical
ordinary observer.




                                                 11
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 17 of 113 PageID #:16233




           B. Examination of the D’723 Patent
        48.      The D’723 Patent is titled “Self-Balancing Vehicle” and has a filing date of Dec
15, 2014. It claims priority to a foreign application CN 201430180556.4 dated 6/13/2014.
        49.      The patent has 8 figures, and states “the broken line showing is for the purpose of
illustrating portions of the self-balancing vehicle and environment structure which form no part of
the claimed design”.
 Table 1: The Claimed Design of the D’723 Patent

 Fig.1 is a top plan view of a
 self-balancing vehicle
 showing our new design




 Fig.2 is a bottom plan view
 thereof




 Fig 3 is a rear elevational
 view thereof




                                                   12
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 18 of 113 PageID #:16234




Fig. 4 is a front elevational
view thereof




Fig 5. Is a left side view
thereof, the right side view
being a mirror image
thereof.




Fig.6 is a rear, top, right
perspective view thereof




                                       13
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 19 of 113 PageID #:16235




 Fig. 7 is a front, top, left
 perspective view thereof




 Fig 8 is a rear, bottom, left
 perspective view thereof




        50.       What is claimed is the overall ornamental design of a Self-Balancing Vehicle as
described in the patent and shown in the figures. The claimed design does not include the areas
shown in broken lines, such as the wheels, the holes on the underside, the “O I” pattern, and the
on/off graphics.
        51.       I have reviewed the prosecution history of the D’723 Patent, and it consistent with
my opinion of the claim scope. The claimed design was allowed over all the prior art that was cited
in the file history.

          C. Examination of the D’256 Patent
        52.       The D’256 Patent is also titled “Self Balancing Vehicle” and has a filing date of
Dec 15, 2014. The patent has 8 figures, and states “the broken line showing is for the purpose of
illustrating portions of the self-balancing vehicle and environment structure which form no part of
the claimed design”.



                                                  14
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 20 of 113 PageID #:16236




Table 2: The Claimed Design of the D’256 Patent

Fig.1 is a top plan view of a self-
balancing vehicle showing our
new design




Fig.2 is a bottom plan view
thereof




Fig 3 is a rear elevational view
thereof




Fig. 4 is a front elevation view
thereof




                                                  15
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 21 of 113 PageID #:16237




Fig 5. Is a left side view thereof,
the right side view being a
mirror image thereof




Fig.6 is a frony, top, right
perspective view thereof




Fig. 7 is a rear, top, left
perspective view thereof




                                       16
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 22 of 113 PageID #:16238




 Fig 8 is a rear, bottom, left
 perspective view thereof




        53.      What is claimed is the overall ornamental design of a Self-Balancing Vehicle as
described in the patent and shown in the figures. The claimed design does not include the areas
shown in broken lines, such as the wheels, holes on the underside, and the “O I” pattern.
        54.      I have reviewed the prosecution history of the D’256 Patent, and it consistent with
my opinion of the claim scope. The claimed design was allowed over all the prior art that was cited
in the file history.

         D. Examination of the D’195 Patent
        55.      The D’195 Patent is titled “Human-Machine Interaction Vehicle” and has a filing
date of Feb 29, 2016. It claims priority to a foreign application 201530389352.6 dated 10/9/2015.
        56.      The patent has 6 figures, and states “the broken lines are for the purpose of
illustrating portions of the human-machine interaction vehicle and environmental structure which
form no part of the claimed design”.
 Table 3: The Claimed Design of the ’195 Patent
 Fig. 1 is a top plan view of a
 human-machine interaction
 vehicle showing my new design




                                                  17
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 23 of 113 PageID #:16239




Fig. 2 is a bottom plan view
thereof




Fig. 3 is a front elevational view
thereof




Fig. 4 is a rear elevational view
thereof




Fig. 5 is a right side view thereof,
the left side view being a mirror
image thereof




                                       18
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 24 of 113 PageID #:16240




 Fig. 6 is a top, rear, right
 perspective view thereof




        57.       What is claimed is the overall ornamental design of a Human-Machine Interaction
Vehicle as described in the patent and shown in the figures. The claimed design does not include
the areas shown in broken lines, such as the wheels, and various patterns and lines on the top
surfaces.
        58.       I have reviewed the prosecution history of the D’195 Patent, and it consistent with
my opinion of the claim scope. The claimed design was allowed over all the prior art that was cited
in the file history.

          E. Examination of the D’112 Patent
        59.       The D’112 Patent is also titled “Human-Machine Interaction Vehicle” and has a
filing date of Feb 29, 2016. It claims priority to a foreign application CN 201530481979.4 dated
11/26/2015.
        60.       The patent has 6 figures, and states “the broken lines are for the purpose of
illustrating portions of the human-machine interaction vehicle and environmental structure which
form no part of the claimed design”.




                                                  19
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 25 of 113 PageID #:16241




Table 4: The Claimed Design of the ’112 Patent
Fig. 1 is a top plan view of a
human-machine interaction
vehicle showing my new
design




Fig. 2 is a bottom plan view
thereof




Fig. 3 is a front elevational
view thereof




Fig. 4 is a rear elevational
view thereof




                                                 20
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 26 of 113 PageID #:16242




 Fig. 5 is a right side view
 thereof, the left side view
 being a mirror image thereof




 Fig. 6 is a top, front, left
 perspective view thereof




        61.       What is claimed is the overall ornamental design of a Human-Machine Interaction
Vehicle as described in the patent and shown in the figures. The claimed design does not include
the areas shown in broken lines, such as the wheels, circular holes on the bottom surface, and
various patterns and lines on the top surfaces.
        62.       I have reviewed the prosecution history of the D’112 Patent, and it consistent with
my opinion of the claim scope. The claimed design was allowed over all the prior art that was cited
in the file history.

          F. The Cited Prior Art Show The Patents-In-Suit Have A Broad Scope
        63.       Prior art is used to compare to the claimed design of a patent to find the scope of
the design in the ordinary observer test. It is also used to compare the Accused Products to the
claimed designs to evaluate if the Accused Products is closer to the claimed design than the prior
art.
        64.       I have analyzed all the cited prior art of the Patents-In-Suit. Below I present one
selected view from each of the cited prior art to provide an overview of the state-of-the-art at the


                                                  21
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 27 of 113 PageID #:16243




time of the filing of each patent. As can be seen in the table below, the D’723 and the D’256 cited
the same prior art.
    Table 5: The Cited Prior Art Cited on the Face of the D’723 and D’256 Patents




              US 8,118,319                           US 8,469,376                            US 8,414,000




                   Appl.
             2007-0273118                            US 8,500,145                            US D647,991




                                  US D739,9061

           65.      While some of the individual components of the D’723 and D’256 Patents are
represented in some of the prior art, the overall impression of the claimed design of the D’723 and
D’256 Patents is entirely unique. The prior art is vastly different in many ways and therefore the
D’723 and D’256 Patents enjoy a very broad scope.
           66.      Some of the prior art feature a generally hourglass outer form. However, none of
the relevant prior art create the visual impression of an integrated hourglass body with a relatively



1
    The US Patent D739,906 was not cited on the face of either the ‘723 or ‘256 Patents but I understand that its filing
date slightly preceded that of these patents and is therefore part of my analysis.



                                                            22
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 28 of 113 PageID #:16244




flat surface across the top of the main body, pronounced ‘footing’ areas, and open-arched fenders
over the top of the wheel area.


 Table 6: The Cited Prior Art On the Face of the ‘195 Patent




 US 6,834,867                                                                 US 8,738,278
                                                US 7,424,927




                                                US D737,723
                                                                              US D738,256
 US 9,403,573




 US 9,376,155                                   US D739,906



       67.      While some of the individual components of the D’195 Patents are represented in
some of the prior art, the overall impression of the claimed design of the D’195 Patent is entirely
unique. The prior art is vastly different in many ways and therefore the D’195 Patent enjoys a very
broad scope.
       68.      Some of the prior art feature a generally hourglass outer form. However, none of
the relevant prior art create the visual impression of an integrated hourglass body with many
horizontal styling lines across the body and a relatively flat surface across the top, open arched


                                                  23
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 29 of 113 PageID #:16245




covers over the wheel area, larger radii on the front and back of the underside. Unlike any of the
prior art the footplates narrow as they extend toward the center.


 Table 7: A Selection of the Cited Prior Art from the D’112 Patent




                                                                     US 8,738,278
                                   US 7,635,037
 US 7,481,291




                                                                     US 9,682,732
 US 9,403,573                      US 9,499,228




                                   US D737,723
                                                                     US D738,256
 US D601,922




 US 9,376,155                      US D535,714                       US D739,906




                                                  24
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 30 of 113 PageID #:16246




           69.      While some of the individual components of the D’112 Patent is represented in
some of the prior art, the overall impression of the claimed design of the D’112 Patent is entirely
unique. The prior art is vastly different in many ways and therefore the D’112 Patent enjoys a very
broad scope.
           70.      Some of the prior art feature a generally hourglass outer form. However, none of
the relevant prior art create the visual impression of an integrated hourglass body with many angled
lines across the body and a relatively flat surface across the top, arched covers over the wheel area,
larger radii on the front and back of the underside. Unlike any of the prior art the foot plate stretch
across almost the full width of the main body.

           ANALYSIS OF FUNCTIONALITY
           71.      The opinions in the Rake Declaration rely upon the opinion that the “overall shape”
of the Claimed Designs is “largely based on functionality” (Rake ¶¶ 58, 64, 70, 76). I disagree and
outline my own analysis on whether these or other main elements of the Claimed Designs are
primarily functional, below.
           72.      I understand that several factors may suggest that a feature is primarily functional,
including          whether        the      protected        design        represents        the       best       design,
and whether alternative designs would adversely affect the utility of the specified article.2
           73.      The Claimed Designs feature many ornamental elements that contribute to the
overall impression. Here I will briefly describe the analysis of three visually dominant elements of
the overall visual impression to analyze whether they could have been designed with substantially
different ornamentation and still provide the same functionality.
           74.      The Rake Declaration argues that the “overall shape” of the Claimed Designs is
based on a) the length and width being driven by human measurements and b) the narrow center


2
    The Federal Circuit listed a number of considerations for assessing whether a patented design as a whole was
dictated by functional considerations such as: “Whether the protected design represents the best design; whether
alternative designs would adversely affect the utility of the specified article; whether there are any concomitant
utility patents; whether the advertising touts particular features of the design as having specific utility and whether
there are any elements in the design or an overall appearance clearly not dictated by function.” Berry Sterling Corp.
v. Pescor Plastics, Inc., 122 F.3d 1452, 1456 (Fed. Cir. 1997).



                                                           25
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 31 of 113 PageID #:16247




avoids interference with the ground when twisting the two halves.3 Based on just the prior art
cited on the face of the Patents-In-Suit alone, we see that there are alternative ways to provide
similar or the same functionality of providing adequate space for footing and allow for a central
pivoting motion, but with distinctly different ornamental designs.
    Table 8: The prior art provides alternative ornamental examples for the same utility.




                                                                                  These prior art provide the
                                                                                  same spacing for feet but
                                                                                  create distinctly different
                                                                                  visual impressions from that
                                  US 8,469,376
                                                                                  of the Patents-in-Suit.

                                                                                  They also provide a similarly
                                                                                  pivoting center that creates
                                                                                  distinctly different visual
                                                                                  impressions from that of the
                                                                                  Patents-in-Suit.




                                  US 6,834,867




3
    Mr. Rake’s arguments are presented in more detail and analyzed more closely in Section IX.



                                                          26
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 32 of 113 PageID #:16248




                             Appl. 2007-0273118
        75.        Second, the fenders of the Claimed Designs may prevent accidental access to the
top of the wheel, for which alternative ornamental designs are also found within the prior art (see
table below).
        76.        Third, the pronounced footing areas may communicate where to position feet, and
possibly provide grip, and alternative ornamental designs for these same functions are also found
within the prior art.
   Table 9: The prior art provides alternative ornamental examples for the same fender and footing
   area utility.
                                                                     These prior art provide the
                                                                     same utility of the fenders of
                                                                     the Patents-In-Suit but create
                                                                     distinctly different visual
                                                                     impressions.

              US D739,906                         US D647,991
                                                                     These prior art provide the
                                                                     same utility of the pronounced
                                                                     footing areas of the Patents-In-
                                                                     Suit but create distinctly
                                                                     different visual impressions.


              US 8,118,319                  Appl. 2007-0273118




                                                     27
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 33 of 113 PageID #:16249




        77.    Based on my analysis of the overall outer shape and other main elements of the
Claimed Designs, it is clear that the same functionality can be achieved with distinctly different
ornamental designs. Although the above outlined analysis demonstrates only part of the Berry
Sterling considerations, this finding is sufficient for me to opine that none of the ornamental
designs claimed in the Patents-In-Suit are dictated by function, or otherwise purely functional.

        OVERVIEW OF THE ACCUSED PRODUCTS
        78.    As noted above, there are five products accused of infringement in this case, the
‘Gyroor A’, ‘B’, ‘C’, ‘D’, and ‘E’.
        79.    Each of the Accused Products creates the visual impression to the hypothetical
ordinary observer of an integrated hourglass body with a relatively flat surface across the top of
the main body, pronounced ‘footing’ areas, and open-arched fenders over the top of the wheel
area.
        80.    While they are not exact duplicates, each of the Accused Products and each of the
Claimed Designs share very similar visual traits in their format, proportions and main visual
features, and share the same overall impression to the ordinary observer in light of the prior art.
 Table 10: Accused Product Gyroor A




                                                 28
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 34 of 113 PageID #:16250




                                       29
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 35 of 113 PageID #:16251




Table 11: Accused Product Gyroor B




                                       30
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 36 of 113 PageID #:16252




Table 12: Accused Product Gyroor C




                                       31
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 37 of 113 PageID #:16253




                                       32
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 38 of 113 PageID #:16254




Table 13: Accused Product Gyroor D




                                       33
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 39 of 113 PageID #:16255




Table 14: Accused Product Gyroor E




                                       34
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 40 of 113 PageID #:16256




                                       35
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 41 of 113 PageID #:16257




        THE ACCUSED PRODUCTS INFRINGES THE PATENTS-IN-SUIT
        81.     I conducted a side-by-side comparison of the Accused Products and the Claimed
Designs. My analysis was limited to the Claimed Designs as depicted by the solid lines in the
figures of the Patents-In-Suit and did not include the unclaimed portions of the design depicted in
broken lines.
        82.     The Accused Products and the claimed designs of the Patents-In-Suit are both
conceptually and functionally identical in that they are all hoverboards, for recreational use by
consumers.
        83.     As mentioned above, the scope of the claim of a patented design encompasses its
visual appearance as a whole, and in particular the ‘visual impression’ it creates. Even if various
ornamental elements which make up the whole of a design may be slightly different in isolation,
infringement occurs if the overall visual impression is substantially similar.
        84.     In my analysis detailed below I conclude that each of the Accused Products is not
plainly dissimilar to the Claimed Designs.
        85.     As an additional step, I also analyzed the patents’ cited prior art against the Accused
Products and Patented Designs to find whether the Accused Designs are closer to the Patented
Designs than the closest prior art. As it is the burden of the defendant to identify the closest prior
art, I conducted a three-way comparison using the D‘906 Patent as both of Defendants’ experts in
this case have cited this to be the closest prior art.
        86.     My analysis was conducted by comparing the visual impression of each Accused
Product and each of the Claimed Designs to the D’906 Patent, through the eyes of an ordinary
observer. Specifically, the ordinary observer test inquires whether the visual impression of an


                                                   36
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 42 of 113 PageID #:16258




Accused Product is closer to the claimed design of a patent than to the prior art. In my analysis I
find the visual impression created by each of the Accused Products is closer to each of the Claimed
Designs than it is to the prior art. The Accused Products are therefore substantially the same as
each of the Claimed Designs in the eyes of the ordinary observer as I will outline below.

        A. Accused Product Gyroor A
               1.      The Accused Product Gyroor A Infringes on the D‘723 Patent
       87.     Although the below chart only presents selected views, my analysis was undertaken
by comparing the actual product to each of the patented designs as a whole. The full comparison
to all of the figures of the D‘723 are shown in Exhibit 1.
     Table 15: Three-way comparison of Gyroor A to the D‘906 Patent and the claimed design of the
     D’723.
                                                                      FIG. 6 of the ’D723 patent




                                                                      Perspective view of Gyroor
                                                                      A




                                                37
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 43 of 113 PageID #:16259




                                                                     FIG. 4 of the prior art ’D906
                                                                     Patent




                                                                     Figure 1 of the D’723 Patent




                                                                     Top view of Gyroor A




                                                                     Figure 3 of the prior art
                                                                     D‘906 Patent.




       88.     Giving due consideration to the legal standards as outlined in Section IV, the
examination illustrated in the table above allows for no other reasonable conclusion than that the
overall visual impression of the claimed design of the D‘723 Patent and Gyroor A are not plainly
dissimilar.



                                               38
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 44 of 113 PageID #:16260




           89.      Further, when comparing to the closest prior art through the eyes of the ordinary
observer, Gyroor A is closer in overall impression to the claimed design of the D‘723 Patent
than to the closest prior art. Gyroor A and the claimed design of the D‘723 Patent both create a
visual impression of an integrated hourglass body with a relatively flat surface across the top of
the main body, pronounced ‘footing’ areas, and open-arched fenders over the top of the wheel
area. More specifically, the relatively flat surface across the top of the main body such that the
footpads and center section are largely on the same plane, the pronounced footing areas
substantially covered by raised footpads with a pattern of grooves, and the fenders arching over a
portion of the tire and leaving the outside surface of the wheel largely exposed, significantly
contribute to the overall impression of the designs. In contrast, the D’906 Patent is completely
devoid of any type of footpad, has a center section that significantly curves and extends above the
plane of the footing areas, and has fenders that cover the majority of the tire and wheel assembly,
extending below the midpoint of the wheel. While the D’906 also includes an hourglass body, the
design as a whole gives a distinctly different impression, as it creates an impression of a very
uncluttered, rounded, smooth body with no pronounced footing area and closed fender skirts4.
           90.      Therefore, in light of the closest prior art, the claimed design of the D‘723 is
substantially the same as the visual impression presented by Gyroor A.
                    2.       The Accused Product Gyroor A Infringes on the D‘256 Patent
           91.      Although the below chart only presents selected views, my analysis was undertaken
by comparing the actual product to each of the patented designs as a whole. The full comparison
to all of the figures of the D‘256 are shown in Exhibit 1.




4
    Fender skirt’ is a term used by the automobile industry when the wheel is almost entirely hidden, as seen in 1969
Buick Electra and the 1986 Citroen CX.



                                                           39
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 45 of 113 PageID #:16261




   Table 16: Three-way comparison of the Gyroor A to the D’906 Patent and the claimed design of
   the D’256.
                                                                    FIG. 6 of the D’256 patent




                                                                    Perspective view of Gyroor
                                                                    A




                                                                    FIG. 4 of the prior art ’D906
                                                                    Patent




                                                                    Figure 1 of the D’256 Patent




                                              40
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 46 of 113 PageID #:16262




                                                                      Top view of Gyroor A




                                                                      Figure 3 of the prior art
                                                                      D‘906 Patent.




       92.     Giving due consideration to the legal standards as outlined in Section IV, the
examination illustrated in the table above allows for no other reasonable conclusion than that the
overall visual impression of the claimed design of the D‘256 Patent and Gyroor A are not plainly
dissimilar.
       93.     Further, when comparing to the closest prior art through the eyes of the ordinary
observer, Gyroor A is closer in overall impression to the claimed design of the D‘256 Patent
than to the closest prior art. Gyroor A and the claimed design of the D‘256 Patent both create a
visual impression of an integrated hourglass body with a relatively flat surface across the top of
the main body, pronounced ‘footing’ areas, and open-arched fenders over the top of the wheel
area. More specifically, the relatively flat surface across the top of the main body such that the
footpads and center section are largely on the same plane, the pronounced footing areas
substantially covered by raised footpads with a pattern of grooves, and the fenders arching over a
portion of the tire and leaving the outside surface of the wheel largely exposed, significantly
contribute to the overall impression of the designs. In contrast, the D’906 Patent is completely
devoid of any type of footpad, has a center section that significantly curves and extends above the
plane of the footing areas, and has fenders that cover the majority of the tire and wheel assembly,
extending below the midpoint of the wheel. While the D’906 also includes an hourglass body, the
design as a whole gives a distinctly different impression, as it creates an impression of a very
uncluttered, rounded, smooth body with no pronounced footing area and closed fender skirts.



                                                41
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 47 of 113 PageID #:16263




       94.     Therefore, in light of the closest prior art, the claimed design of the D‘256 is
substantially the same as the visual impression presented by Gyroor A.
               3.      The Accused Product Gyroor A Infringes on the D‘195 Patent
       95.     Although the below chart only presents selected views, my analysis was undertaken
by comparing the actual product to each of the patented designs as a whole. The full comparison
to all of the figures of the D‘195 are shown in Exhibit 1.
     Table 17: Three-way comparison of Gyroor A to the D‘906 Patent and the claimed design of the
     D’195.
                                                                      FIG. 6 of the D’195 patent




                                                                      Perspective view of Gyroor
                                                                      A




                                                42
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 48 of 113 PageID #:16264




                                                                     FIG. 4 of the prior art ’D906
                                                                     Patent




                                                                     Figure 6 of the D’195 Patent




                                                                     Top view of Gyroor A




                                                                     Figure 3 of the prior art
                                                                     D‘906 Patent.




       96.     Giving due consideration to the legal standards as outlined in Section IV, the
examination illustrated in the table above allows for no other reasonable conclusion than that the
overall visual impression of the claimed design of the D‘195 Patent and Gyroor A are not plainly
dissimilar.



                                               43
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 49 of 113 PageID #:16265




       97.     Further, when comparing to the closest prior art through the eyes of the ordinary
observer, Gyroor A is closer in overall impression to the claimed design of the D‘195 Patent
than to the closest prior art. Gyroor A and the claimed design of the D‘195 Patent both create a
visual impression of an integrated hourglass body with many horizontal styling lines across the
body and a relatively flat surface across the top of the main body, and open-arched fenders over
the top of the wheel area. More specifically, the relatively flat surface across the top of the main
body such that the footpads and center section are largely on the same plane, the horizontal styling
lines across the body forming various surface details, and the fenders arching over a portion of the
tire and leaving the outside surface of the wheel largely exposed, significantly contribute to the
overall impression of the designs. In contrast, the D’906 Patent has a center section that
significantly curves and extends above the plane of the footing areas, has a rounded, smooth body
that is completely devoid of any type of styling lines, and has fenders that cover the majority of
the tire and wheel assembly, extending below the midpoint of the wheel. While the D’906 also
includes an hourglass body, the design as a whole gives a distinctly different impression, as it
creates an impression of a very uncluttered, rounded, smooth body and closed fender skirts.
       98.     Therefore, in light of the closest prior art, the claimed design of the D‘195 is
substantially the same as the visual impression presented by Gyroor A.

        B. Accused Product Gyroor B
               1. The Accused Product Gyroor B Infringes on the D‘723 Patent
       99.     Although the below chart only presents selected views, my analysis was undertaken
by comparing the actual product to each of the patented designs as a whole. The full comparison
to all of the figures of the D‘723 are shown in Exhibit 1.




                                                44
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 50 of 113 PageID #:16266




   Table 18: Three-way comparison of Gyroor B to the D‘906 Patent and the claimed design of the
   D’723.
                                                                    FIG. 6 of the ’D723 patent




                                                                    Perspective view of Gyroor
                                                                    B




                                                                    FIG. 4 of the prior art ’D906
                                                                    Patent




                                              45
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 51 of 113 PageID #:16267




                                                                     Figure 1 of the D’723 Patent




                                                                     Top view of Gyroor B




                                                                     Figure 3 of the prior art
                                                                     D‘906 Patent.




       100.    Giving due consideration to the legal standards as outlined in Section IV, the
examination illustrated in the table above allows for no other reasonable conclusion than that the
overall visual impression of the claimed design of the D‘723 Patent and Gyroor B are not plainly
dissimilar.
       101.    Further, when comparing to the closest prior art through the eyes of the ordinary
observer, Gyroor B is closer in overall impression to the claimed design of the D‘723 Patent
than to the closest prior art. Gyroor B and the claimed design of the D‘723 Patent both create a
visual impression of an integrated hourglass body with a relatively flat surface across the top of
the main body, pronounced ‘footing’ areas, and open-arched fenders over the top of the wheel
area. More specifically, the relatively flat surface across the top of the main body such that the
footpads and center section are largely on the same plane, the pronounced footing areas
substantially covered by raised footpads with a pattern of grooves, and the fenders arching over a


                                               46
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 52 of 113 PageID #:16268




portion of the tire and leaving the outside surface of the wheel largely exposed, significantly
contribute to the overall impression of the designs. In contrast, the D’906 Patent is completely
devoid of any type of footpad, has a center section that significantly curves and extends above the
plane of the footing areas, and has fenders that cover the majority of the tire and wheel assembly,
extending below the midpoint of the wheel. While the D’906 also includes an hourglass body, the
design as a whole gives a distinctly different impression, as it creates an impression of a very
uncluttered, rounded, smooth body with no pronounced footing area and closed fender skirts.
       102.       Therefore, in light of the closest prior art, the claimed design of the D‘723 is
substantially the same as the visual impression presented by Gyroor B.
                  2. The Accused Product Gyroor B Infringes on the D‘256 Patent
       103.       Although the below chart only presents selected views, my analysis was undertaken
by comparing the actual product to each of the patented designs as a whole. The full comparison
to all of the figures of the D‘256 are shown in Exhibit 1.
     Table 19: Three-way comparison of the Gyroor B to the D’906 Patent and the claimed design of
     the D’256.
                                                                       FIG. 6 of the D’256 patent




                                                 47
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 53 of 113 PageID #:16269




                                                         Perspective view of Gyroor
                                                         B




                                                         FIG. 4 of the prior art ’D906
                                                         Patent




                                                         Figure 1 of the D’256 Patent




                                                         Top view of Gyroor B




                                       48
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 54 of 113 PageID #:16270




                                                                      Figure 3 of the prior art
                                                                      D‘906 Patent.




       104.    Giving due consideration to the legal standards as outlined in Section IV, the
examination illustrated in the table above allows for no other reasonable conclusion than that the
overall visual impression of the claimed design of the D‘256 Patent and Gyroor B are not plainly
dissimilar.
       105.    Further, when comparing to the closest prior art through the eyes of the ordinary
observer, Gyroor B is closer in overall impression to the claimed design of the D‘256 Patent
than to the closest prior art. Gyroor B and the claimed design of the D‘256 Patent both create a
visual impression of an integrated hourglass body with a relatively flat surface across the top of
the main body, pronounced ‘footing’ areas, and open-arched fenders over the top of the wheel
area. More specifically, the relatively flat surface across the top of the main body such that the
footpads and center section are largely on the same plane, the pronounced footing areas
substantially covered by raised footpads with a pattern of grooves, and the fenders arching over a
portion of the tire and leaving the outside surface of the wheel largely exposed, significantly
contribute to the overall impression of the designs. In contrast, the D’906 Patent is completely
devoid of any type of footpad, has a center section that significantly curves and extends above the
plane of the footing areas, and has fenders that cover the majority of the tire and wheel assembly,
extending below the midpoint of the wheel. While the D’906 also includes an hourglass body, the
design as a whole gives a distinctly different impression, as it creates an impression of a very
uncluttered, rounded, smooth body with no pronounced footing area and closed fender skirts.
       106.    Therefore, in light of the closest prior art, the claimed design of the D‘256 is
substantially the same as the visual impression presented by Gyroor B.
               3. The Accused Product Gyroor B Infringes on the D‘195 Patent
       107.    Although the below chart only presents selected views, my analysis was undertaken
by comparing the actual product to each of the patented designs as a whole. The full comparison
to all of the figures of the D‘195 are shown in Exhibit 1.

                                                49
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 55 of 113 PageID #:16271




   Table 20: Three-way comparison of the Gyroor B to the D’906 Patent and the claimed design of
   the D’195.
                                                                    FIG. 6 of the D’195 patent




                                                                    Perspective view of Gyroor
                                                                    B




                                                                    FIG. 4 of the prior art ’D906
                                                                    Patent




                                              50
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 56 of 113 PageID #:16272




                                                                       Figure 1 of the D’195 Patent




                                                                       Top view of Gyroor B




                                                                       Figure 3 of the prior art
                                                                       D‘906 Patent.




       108.    Giving due consideration to the legal standards as outlined in Section IV, the
examination illustrated in the table above allows for no other reasonable conclusion than that the
overall visual impression of the claimed design of the D‘195 Patent and Gyroor B are not plainly
dissimilar.
       109.    Further, when comparing to the closest prior art through the eyes of the ordinary
observer, Gyroor B is closer in overall impression to the claimed design of the D‘195 Patent
than to the closest prior art. Gyroor B and the claimed design of the D‘195 Patent both create a
visual impression of an integrated hourglass body with many horizontal styling lines across the
body and a relatively flat surface across the top of the main body, and open-arched fenders over
the top of the wheel area. More specifically, the relatively flat surface across the top of the main
body such that the footpads and center section are largely on the same plane, the horizontal styling
lines across the body forming various surface details, and the fenders arching over a portion of the
tire and leaving the outside surface of the wheel largely exposed, significantly contribute to the
overall impression of the designs. In contrast, the D’906 Patent has a center section that


                                                51
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 57 of 113 PageID #:16273




significantly curves and extends above the plane of the footing areas, has a rounded, smooth body
that is completely devoid of any type of styling lines, and has fenders that cover the majority of
the tire and wheel assembly, extending below the midpoint of the wheel. While the D’906 also
includes an hourglass body, the design as a whole gives a distinctly different impression, as it
creates an impression of a very uncluttered, rounded, smooth body and closed fender skirts.
       110.       Therefore, in light of the closest prior art, the claimed design of the D‘195 is
substantially the same as the visual impression presented by Gyroor B.
                  4.     The Accused Product Gyroor B Infringes on the D‘112 Patent
       111.       Although the below chart only presents selected views, my analysis was undertaken
by comparing the actual product to each of the patented designs as a whole. The full comparison
to all of the figures of the D‘112 are shown in Exhibit 1.
     Table 21: Three-way comparison of the Gyroor B to the D’906 Patent and the claimed design of
     the D’112.
                                                                       FIG. 6 of the D’112 patent




                                                                       Perspective view of Gyroor
                                                                       B




                                                 52
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 58 of 113 PageID #:16274




                                                                     FIG. 4 of the prior art ’D906
                                                                     Patent




                                                                     Figure 1 of the D’112 Patent




                                                                     Top view of Gyroor B




                                                                     Figure 3 of the prior art
                                                                     D‘906 Patent.




       112.    Giving due consideration to the legal standards as outlined in Section IV, the
examination illustrated in the table above allows for no other reasonable conclusion than that the
overall visual impression of the claimed design of the D‘112 Patent and Gyroor B are not plainly
dissimilar.
       113.    Further, when comparing to the closest prior art through the eyes of the ordinary
observer, Gyroor B is closer in overall impression to the claimed design of the D‘112 Patent

                                               53
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 59 of 113 PageID #:16275




than to the closest prior art. Gyroor B and the claimed design of the D‘112 Patent both create a
visual impression of an integrated hourglass body with many angled styling lines across the body
and a relatively flat surface across the top of the main body, and open-arched fenders over the top
of the wheel area. More specifically, the relatively flat surface across the top of the main body
such that the footpads and center section are largely on the same plane, the angled styling lines
across the body forming various surface details, and the fenders arching over a portion of the tire
and leaving the outside surface of the wheel largely exposed, significantly contribute to the overall
impression of the designs. In contrast, the D’906 Patent has a center section that significantly
curves and extends above the plane of the footing areas, has a rounded, smooth body that is
completely devoid of any type of styling lines, and has fenders that cover the majority of the tire
and wheel assembly, extending below the midpoint of the wheel. While the D’906 also includes
an hourglass body, the design as a whole gives a distinctly different impression, as it creates an
impression of a very uncluttered, rounded, smooth body and closed fender skirts.
       114.    Therefore, in light of the closest prior art, the claimed design of the D‘112 is
substantially the same as the visual impression presented by Gyroor B.

        C. Accused Product Gyroor C
               1. The Accused Product Gyroor C Infringes on the D‘723 Patent
       115.    Although the below chart only presents selected views, my analysis was undertaken
by comparing the actual product to each of the patented designs as a whole. The full comparison
to all of the figures of the D‘723 are shown in Exhibit 1.
     Table 22: Three-way comparison of Gyroor C to the D‘906 Patent and the claimed design of the
     D’723.
                                                                        FIG. 6 of the ’D723 patent




                                                 54
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 60 of 113 PageID #:16276




                                                         Perspective view of Gyroor
                                                         C




                                                         FIG. 4 of the prior art ’D906
                                                         Patent




                                                         Figure 1 of the D’723 Patent




                                                         Top view of Gyroor C




                                       55
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 61 of 113 PageID #:16277




                                                                      Figure 3 of the prior art
                                                                      D‘906 Patent.




       116.    Giving due consideration to the legal standards as outlined in Section IV, the
examination illustrated in the table above allows for no other reasonable conclusion than that the
overall visual impression of the claimed design of the D‘723 Patent and Gyroor C are not plainly
dissimilar.
       117.    Further, when comparing to the closest prior art through the eyes of the ordinary
observer, Gyroor C is closer in overall impression to the claimed design of the D‘723 Patent
than to the closest prior art. Gyroor C and the claimed design of the D‘723 Patent both create a
visual impression of an integrated hourglass body with a relatively flat surface across the top of
the main body, pronounced ‘footing’ areas, and open-arched fenders over the top of the wheel
area. More specifically, the relatively flat surface across the top of the main body such that the
footpads and center section are largely on the same plane, the pronounced footing areas
substantially covered by raised footpads with a pattern of grooves, and the fenders arching over a
portion of the tire and leaving the outside surface of the wheel largely exposed, significantly
contribute to the overall impression of the designs. In contrast, the D’906 Patent is completely
devoid of any type of footpad, has a center section that significantly curves and extends above the
plane of the footing areas, and has fenders that cover the majority of the tire and wheel assembly,
extending below the midpoint of the wheel. While the D’906 also includes an hourglass body, the
design as a whole gives a distinctly different impression, as it creates an impression of a very
uncluttered, rounded, smooth body with no pronounced footing area and closed fender skirts.
       118.    Therefore, in light of the closest prior art, the claimed design of the D‘723 is
substantially the same as the visual impression presented by Gyroor C.




                                                56
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 62 of 113 PageID #:16278




                  2. The Accused Product Gyroor C Infringes on the D‘256 Patent
       119.       Although the below chart only presents selected views, my analysis was undertaken
by comparing the actual product to each of the patented designs as a whole. The full comparison
to all of the figures of the D‘256 are shown in Exhibit 1.
     Table 23: Three-way comparison of the Gyroor C to the D’906 Patent and the claimed design of
     the D’256.
                                                                       FIG. 6 of the D’256 patent




                                                                       Perspective view of Gyroor
                                                                       C




                                                                       FIG. 4 of the prior art ’D906
                                                                       Patent




                                                 57
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 63 of 113 PageID #:16279




                                                                      Figure 1 of the D’256 Patent




                                                                      Top view of Gyroor C




                                                                      Figure 3 of the prior art
                                                                      D‘906 Patent.




       120.    Giving due consideration to the legal standards as outlined in Section IV, the
examination illustrated in the table above allows for no other reasonable conclusion than that the
overall visual impression of the claimed design of the D‘256 Patent and Gyroor C are not plainly
dissimilar.
       121.    Further, when comparing to the closest prior art through the eyes of the ordinary
observer, Gyroor C is closer in overall impression to the claimed design of the D‘256 Patent
than to the closest prior art. Gyroor C and the claimed design of the D‘256 Patent both create a
visual impression of an integrated hourglass body with a relatively flat surface across the top of
the main body, pronounced ‘footing’ areas, and open-arched fenders over the top of the wheel
area. More specifically, the relatively flat surface across the top of the main body such that the
footpads and center section are largely on the same plane, the pronounced footing areas
substantially covered by raised footpads with a pattern of grooves, and the fenders arching over a
portion of the tire and leaving the outside surface of the wheel largely exposed, significantly
contribute to the overall impression of the designs. In contrast, the D’906 Patent is completely
devoid of any type of footpad, has a center section that significantly curves and extends above the


                                                58
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 64 of 113 PageID #:16280




plane of the footing areas, and has fenders that cover the majority of the tire and wheel assembly,
extending below the midpoint of the wheel. While the D’906 also includes an hourglass body, the
design as a whole gives a distinctly different impression, as it creates an impression of a very
uncluttered, rounded, smooth body with no pronounced footing area and closed fender skirts.
       122.    Therefore, in light of the closest prior art, the claimed design of the D‘256 is
substantially the same as the visual impression presented by Gyroor C.
               3. The Accused Product Gyroor C Infringes on the D‘195 Patent
       123.    Although the below chart only presents selected views, my analysis was undertaken
by comparing the actual product to each of the patented designs as a whole. The full comparison
to all of the figures of the D‘195 are shown in Exhibit 1.



     Table 24: Three-way comparison of Gyroor C to the D‘906 Patent and the claimed design of the
     D’195.
                                                                      FIG. 6 of the ’D195 patent




                                                                      Perspective view of Gyroor
                                                                      C




                                                59
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 65 of 113 PageID #:16281




                                                                     FIG. 4 of the prior art ’D906
                                                                     Patent




                                                                     Figure 1 of the D’195 Patent




                                                                     Top view of Gyroor C




                                                                     Figure 3 of the prior art
                                                                     D‘906 Patent.




       124.    Giving due consideration to the legal standards as outlined in Section IV, the
examination illustrated in the table above allows for no other reasonable conclusion than that the
overall visual impression of the claimed design of the D‘195 Patent and Gyroor C are not plainly
dissimilar.



                                               60
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 66 of 113 PageID #:16282




       125.    Further, when comparing to the closest prior art through the eyes of the ordinary
observer, Gyroor C is closer in overall impression to the claimed design of the D‘195 Patent
than to the closest prior art. Gyroor C and the claimed design of the D‘195 Patent both create a
visual impression of an integrated hourglass body with many horizontal styling lines across the
body and a relatively flat surface across the top of the main body, and open-arched fenders over
the top of the wheel area. More specifically, the relatively flat surface across the top of the main
body such that the footpads and center section are largely on the same plane, the horizontal styling
lines across the body forming various surface details, and the fenders arching over a portion of the
tire and leaving the outside surface of the wheel largely exposed, significantly contribute to the
overall impression of the designs. In contrast, the D’906 Patent has a center section that
significantly curves and extends above the plane of the footing areas, has a rounded, smooth body
that is completely devoid of any type of styling lines, and has fenders that cover the majority of
the tire and wheel assembly, extending below the midpoint of the wheel. While the D’906 also
includes an hourglass body, the design as a whole gives a distinctly different impression, as it
creates an impression of a very uncluttered, rounded, smooth body and closed fender skirts.
       126.    Therefore, in light of the closest prior art, the claimed design of the D‘195 is
substantially the same as the visual impression presented by Gyroor C.

        D. Accused Product Gyroor D
               1. The Accused Product Gyroor D Infringes on the D‘723 Patent
       127.    Although the below chart only presents selected views, my analysis was undertaken
by comparing the actual product to each of the patented designs as a whole. The full comparison
to all of the figures of the D‘723 are shown in Exhibit 1.




                                                61
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 67 of 113 PageID #:16283




   Table 25: Three-way comparison of Gyroor D to the D‘906 Patent and the claimed design of the
   D’723.
                                                                    FIG. 6 of the ’D723 patent




                                                                    Perspective view of Gyroor
                                                                    D




                                                                    FIG. 4 of the prior art ’D906
                                                                    Patent




                                              62
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 68 of 113 PageID #:16284




                                                                     Figure 1 of the D’723 Patent




                                                                     Top view of Gyroor D




                                                                     Figure 3 of the prior art
                                                                     D‘906 Patent.




       128.    Giving due consideration to the legal standards as outlined in Section IV, the
examination illustrated in the table above allows for no other reasonable conclusion than that the
overall visual impression of the claimed design of the D‘723 Patent and Gyroor D are not plainly
dissimilar.
       129.    Further, when comparing to the closest prior art through the eyes of the ordinary
observer, Gyroor D is closer in overall impression to the claimed design of the D‘723 Patent
than to the closest prior art. Gyroor D and the claimed design of the D‘723 Patent both create a
visual impression of an integrated hourglass body with a relatively flat surface across the top of
the main body, pronounced ‘footing’ areas, and open-arched fenders over the top of the wheel
area. More specifically, the relatively flat surface across the top of the main body such that the
footpads and center section are largely on the same plane, the pronounced footing areas
substantially covered by raised footpads with a pattern of grooves, and the fenders arching over a
portion of the tire and leaving the outside surface of the wheel largely exposed, significantly

                                               63
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 69 of 113 PageID #:16285




contribute to the overall impression of the designs. In contrast, the D’906 Patent is completely
devoid of any type of footpad, has a center section that significantly curves and extends above the
plane of the footing areas, and has fenders that cover the majority of the tire and wheel assembly,
extending below the midpoint of the wheel. While the D’906 also includes an hourglass body, the
design as a whole gives a distinctly different impression, as it creates an impression of a very
uncluttered, rounded, smooth body with no pronounced footing area and closed fender skirts.
       130.       Therefore, in light of the closest prior art, the claimed design of the D‘723 is
substantially the same as the visual impression presented by Gyroor D.
                  2. The Accused Product Gyroor D Infringes on the D‘256 Patent
       131.       Although the below chart only presents selected views, my analysis was undertaken
by comparing the actual product to each of the patented designs as a whole. The full comparison
to all of the figures of the D‘256 are shown in Exhibit 1.
     Table 26: Three-way comparison of the Gyroor D to the D’906 Patent and the claimed design of
     the D’256.
                                                                       FIG. 6 of the D’256 patent




                                                                       Perspective view of Gyroor
                                                                       D




                                                 64
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 70 of 113 PageID #:16286




                                                                     FIG. 4 of the prior art ’D906
                                                                     Patent




                                                                     Figure 1 of the D’256 Patent




                                                                     Top view of Gyroor D




                                                                     Figure 3 of the prior art
                                                                     D‘906 Patent.




       132.    Giving due consideration to the legal standards as outlined in Section IV, the
examination illustrated in the table above allows for no other reasonable conclusion than that the
overall visual impression of the claimed design of the D‘256 Patent and Gyroor D are not plainly
dissimilar.
       133.    Further, when comparing to the closest prior art through the eyes of the ordinary
observer, Gyroor D is closer in overall impression to the claimed design of the D‘256 Patent
than to the closest prior art. Gyroor D and the claimed design of the D‘256 Patent both create a


                                               65
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 71 of 113 PageID #:16287




visual impression of an integrated hourglass body with a relatively flat surface across the top of
the main body, pronounced ‘footing’ areas, and open-arched fenders over the top of the wheel
area. More specifically, the relatively flat surface across the top of the main body such that the
footpads and center section are largely on the same plane, the pronounced footing areas
substantially covered by raised footpads with a pattern of grooves, and the fenders arching over a
portion of the tire and leaving the outside surface of the wheel largely exposed, significantly
contribute to the overall impression of the designs. In contrast, the D’906 Patent is completely
devoid of any type of footpad, has a center section that significantly curves and extends above the
plane of the footing areas, and has fenders that cover the majority of the tire and wheel assembly,
extending below the midpoint of the wheel. While the D’906 also includes an hourglass body, the
design as a whole gives a distinctly different impression, as it creates an impression of a very
uncluttered, rounded, smooth body with no pronounced footing area and closed fender skirts.
       134.       Therefore, in light of the closest prior art, the claimed design of the D‘256 is
substantially the same as the visual impression presented by Gyroor D.
                  3. The Accused Product Gyroor D Infringes on the D‘195 Patent
       135.       Although the below chart only presents selected views, my analysis was undertaken
by comparing the actual product to each of the patented designs as a whole. The full comparison
to all of the figures of the D‘195 are shown in Exhibit 1.


     Table 27: Three-way comparison of the Gyroor D to the D’906 Patent and the claimed design of
     the D’195.
                                                                       FIG. 6 of the D’195 patent




                                                 66
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 72 of 113 PageID #:16288




                                                         Perspective view of Gyroor
                                                         D




                                                         FIG. 4 of the prior art ’D906
                                                         Patent




                                                         Figure 1 of the D’195 Patent




                                                         Top view of Gyroor D




                                       67
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 73 of 113 PageID #:16289




                                                                       Figure 3 of the prior art
                                                                       D‘906 Patent.




       136.    Giving due consideration to the legal standards as outlined in Section IV, the
examination illustrated in the table above allows for no other reasonable conclusion than that the
overall visual impression of the claimed design of the D‘195 Patent and Gyroor D are not plainly
dissimilar.
       137.    Further, when comparing to the closest prior art through the eyes of the ordinary
observer, Gyroor D is closer in overall impression to the claimed design of the D‘195 Patent
than to the closest prior art. Gyroor D and the claimed design of the D‘195 Patent both create a
visual impression of an integrated hourglass body with many horizontal styling lines across the
body and a relatively flat surface across the top of the main body, and open-arched fenders over
the top of the wheel area. More specifically, the relatively flat surface across the top of the main
body such that the footpads and center section are largely on the same plane, the horizontal styling
lines across the body forming various surface details, and the fenders arching over a portion of the
tire and leaving the outside surface of the wheel largely exposed, significantly contribute to the
overall impression of the designs. In contrast, the D’906 Patent has a center section that
significantly curves and extends above the plane of the footing areas, has a rounded, smooth body
that is completely devoid of any type of styling lines, and has fenders that cover the majority of
the tire and wheel assembly, extending below the midpoint of the wheel. While the D’906 also
includes an hourglass body, the design as a whole gives a distinctly different impression, as it
creates an impression of a very uncluttered, rounded, smooth body and closed fender skirts.
       138.    Therefore, in light of the closest prior art, the claimed design of the D‘195 is
substantially the same as the visual impression presented by Gyroor D.
               4. The Accused Product Gyroor D Infringes on the D‘112 Patent
       139.    Although the below chart only presents selected views, my analysis was undertaken
by comparing the actual product to each of the patented designs as a whole. The full comparison
to all of the figures of the D‘112 are shown in Exhibit 1.

                                                68
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 74 of 113 PageID #:16290




   Table 28: Three-way comparison of the Gyroor D to the D’906 Patent and the claimed design of
   the D’112.
                                                                    FIG. 6 of the D’112 patent




                                                                    Perspective view of Gyroor
                                                                    D




                                                                    FIG. 4 of the prior art ’D906
                                                                    Patent




                                                                    Figure 1 of the D’112 Patent




                                              69
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 75 of 113 PageID #:16291




                                                                        Top view of Gyroor D




                                                                        Figure 3 of the prior art
                                                                        D‘906 Patent.




       140.    Giving due consideration to the legal standards as outlined in Section IV, the
examination illustrated in the table above allows for no other reasonable conclusion than that the
overall visual impression of the claimed design of the D‘112 Patent and Gyroor D are not plainly
dissimilar.
       141.    Further, when comparing to the closest prior art through the eyes of the ordinary
observer, Gyroor D is closer in overall impression to the claimed design of the D‘112 Patent
than to the closest prior art. Gyroor D and the claimed design of the D‘112 Patent both create a
visual impression of an integrated hourglass body with many angled styling lines across the body
and a relatively flat surface across the top of the main body, and open-arched fenders over the top
of the wheel area. More specifically, the relatively flat surface across the top of the main body
such that the footpads and center section are largely on the same plane, the angled styling lines
across the body forming various surface details, and the fenders arching over a portion of the tire
and leaving the outside surface of the wheel largely exposed, significantly contribute to the overall
impression of the designs. In contrast, the D’906 Patent has a center section that significantly
curves and extends above the plane of the footing areas, has a rounded, smooth body that is
completely devoid of any type of styling lines, and has fenders that cover the majority of the tire
and wheel assembly, extending below the midpoint of the wheel. While the D’906 also includes
an hourglass body, the design as a whole gives a distinctly different impression, as it creates an
impression of a very uncluttered, rounded, smooth body and closed fender skirts.



                                                 70
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 76 of 113 PageID #:16292




       142.    Therefore, in light of the closest prior art, the claimed design of the D‘112 is
substantially the same as the visual impression presented by Gyroor D.

        E. Accused Product Gyroor E
               1. The Accused Product Gyroor E Infringes on the D‘723 Patent
       143.    Although the below chart only presents selected views, my analysis was undertaken
by comparing the actual product to each of the patented designs as a whole. The full comparison
to all of the figures of the D‘723 are shown in Exhibit 1.
     Table 29: Three-way comparison of Gyroor E to the D‘906 Patent and the claimed design of the
     D’723.
                                                                       FIG. 6 of the ’D723 patent




                                                                       Perspective view of Gyroor E




                                                71
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 77 of 113 PageID #:16293




                                                                     FIG. 4 of the prior art ’D906
                                                                     Patent




                                                                     Figure 1 of the D’723 Patent




                                                                     Top view of Gyroor E




                                                                     Figure 3 of the prior art
                                                                     D‘906 Patent.




       144.    Giving due consideration to the legal standards as outlined in Section IV, the
examination illustrated in the table above allows for no other reasonable conclusion than that the
overall visual impression of the claimed design of the D‘723 Patent and Gyroor E are not plainly
dissimilar.




                                               72
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 78 of 113 PageID #:16294




       145.    Further, when comparing to the closest prior art through the eyes of the ordinary
observer, Gyroor E is closer in overall impression to the claimed design of the D‘723 Patent
than to the closest prior art. Gyroor E and the claimed design of the D‘723 Patent both create a
visual impression of an integrated hourglass body with a relatively flat surface across the top of
the main body, pronounced ‘footing’ areas, and open-arched fenders over the top of the wheel
area. More specifically, the relatively flat surface across the top of the main body such that the
footpads and center section are largely on the same plane, the pronounced footing areas
substantially covered by raised footpads with a pattern of grooves, and the fenders arching over a
portion of the tire and leaving the outside surface of the wheel largely exposed, significantly
contribute to the overall impression of the designs. In contrast, the D’906 Patent is completely
devoid of any type of footpad, has a center section that significantly curves and extends above the
plane of the footing areas, and has fenders that cover the majority of the tire and wheel assembly,
extending below the midpoint of the wheel. While the D’906 also includes an hourglass body, the
design as a whole gives a distinctly different impression, as it creates an impression of a very
uncluttered, rounded, smooth body with no pronounced footing area and closed fender skirts.
       146.    Therefore, in light of the closest prior art, the claimed design of the D‘723 is
substantially the same as the visual impression presented by Gyroor E.
               2. The Accused Product Gyroor E Infringes on the D‘256 Patent
       147.    Although the below chart only presents selected views, my analysis was undertaken
by comparing the actual product to each of the patented designs as a whole. The full comparison
to all of the figures of the D‘256 are shown in Exhibit 1.




                                                73
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 79 of 113 PageID #:16295




   Table 30: Three-way comparison of the Gyroor E to the D’906 Patent and the claimed design of
   the D’256.
                                                                     FIG. 6 of the D’256 patent




                                                                     Perspective view of Gyroor E




                                                                     FIG. 4 of the prior art ’D906
                                                                     Patent




                                              74
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 80 of 113 PageID #:16296




                                                                      Figure 1 of the D’256 Patent




                                                                      Top view of Gyroor E




                                                                      Figure 3 of the prior art
                                                                      D‘906 Patent.




       148.    Giving due consideration to the legal standards as outlined in Section IV, the
examination illustrated in the table above allows for no other reasonable conclusion than that the
overall visual impression of the claimed design of the D‘256 Patent and Gyroor E are not plainly
dissimilar.
       149.    Further, when comparing to the closest prior art through the eyes of the ordinary
observer, Gyroor E is closer in overall impression to the claimed design of the D‘256 Patent
than to the closest prior art. Gyroor E and the claimed design of the D‘256 Patent both create a
visual impression of an integrated hourglass body with a relatively flat surface across the top of
the main body, pronounced ‘footing’ areas, and open-arched fenders over the top of the wheel
area. More specifically, the relatively flat surface across the top of the main body such that the
footpads and center section are largely on the same plane, the pronounced footing areas
substantially covered by raised footpads with a pattern of grooves, and the fenders arching over a
portion of the tire and leaving the outside surface of the wheel largely exposed, significantly
contribute to the overall impression of the designs. In contrast, the D’906 Patent is completely
devoid of any type of footpad, has a center section that significantly curves and extends above the



                                                75
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 81 of 113 PageID #:16297




plane of the footing areas, and has fenders that cover the majority of the tire and wheel assembly,
extending below the midpoint of the wheel. While the D’906 also includes an hourglass body, the
design as a whole gives a distinctly different impression, as it creates an impression of a very
uncluttered, rounded, smooth body with no pronounced footing area and closed fender skirts.
       150.       Therefore, in light of the closest prior art, the claimed design of the D‘256 is
substantially the same as the visual impression presented by Gyroor E.
                  3. The Accused Product Gyroor E Infringes on the D‘195 Patent
       151.       Although the below chart only presents selected views, my analysis was undertaken
by comparing the actual product to each of the patented designs as a whole. The full comparison
to all of the figures of the D‘195 are shown in Exhibit 1.
     Table 31: Three-way comparison of the Gyroor E to the D’906 Patent and the claimed design of
     the D’195.
                                                                       FIG. 6 of the D’195 patent




                                                                       Perspective view of Gyroor E




                                                 76
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 82 of 113 PageID #:16298




                                                                     FIG. 4 of the prior art ’D906
                                                                     Patent




                                                                     Figure 1 of the D’195 Patent




                                                                     Top view of Gyroor E




                                                                     Figure 3 of the prior art
                                                                     D‘906 Patent.




       152.    Giving due consideration to the legal standards as outlined in Section IV, the
examination illustrated in the table above allows for no other reasonable conclusion than that the
overall visual impression of the claimed design of the D‘195 Patent and Gyroor E are not plainly
dissimilar.
       153.    Further, when comparing to the closest prior art through the eyes of the ordinary
observer, Gyroor E is closer in overall impression to the claimed design of the D‘195 Patent
than to the closest prior art. Gyroor E and the claimed design of the D‘195 Patent both create a

                                               77
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 83 of 113 PageID #:16299




visual impression of an integrated hourglass body with many horizontal styling lines across the
body and a relatively flat surface across the top of the main body, and open-arched fenders over
the top of the wheel area. More specifically, the relatively flat surface across the top of the main
body such that the footpads and center section are largely on the same plane, the horizontal styling
lines across the body forming various surface details, and the fenders arching over a portion of the
tire and leaving the outside surface of the wheel largely exposed, significantly contribute to the
overall impression of the designs. In contrast, the D’906 Patent has a center section that
significantly curves and extends above the plane of the footing areas, has a rounded, smooth body
that is completely devoid of any type of styling lines, and has fenders that cover the majority of
the tire and wheel assembly, extending below the midpoint of the wheel. While the D’906 also
includes an hourglass body, the design as a whole gives a distinctly different impression, as it
creates an impression of a very uncluttered, rounded, smooth body and closed fender skirts.
       154.    Therefore, in light of the closest prior art, the claimed design of the D‘195 is
substantially the same as the visual impression presented by Gyroor E.

       ANALYSIS OF THE RAKE DECLARATION

        A. The Rake Declaration Relies Upon An Unrelated Patent
       155.    In previous declarations, Mr. Rake purported the D’906 as the closest prior art. It
is notable that in this declaration Mr. Rake neither specifies the D’906 as being the closest prior
art, nor does he use it as the closest prior art in his three-way comparison. Instead, Mr. Rake has
chosen the later-filed patent D808,857 (“the D’857”) when comparing the Accused Product to the
claimed designs of the Patents-in-Suit (See Rake ¶¶ 51-76). It is not clear why Mr. Rake no longer
considers the D’906 suitable as the closest prior art. It also contradicts the opinion of Mr. Gandy.
       156.    As mentioned in Section IV above, the ordinary observer test does not permit using
later-filed patents in place of prior art and should not have formed part of Mr. Rake’s analysis. It
is my understanding that prior art is used in the test to establish what the hypothetical ordinary
observer would be familiar with at the time of the Patent-In-Issue’s priority date. It is therefore
nonsensical to use designs that were not existent at this time. In fact, the D’857 was a filed in 2018,
years after the Patents-In-Suit were filed (in 2014, 2014, 2016, and 2017, respectively.).




                                                  78
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 84 of 113 PageID #:16300




        157.     Because Mr. Rake relies upon the D’857 as his closest prior art comparison for his
entire non-infringement analysis, this alone may invalidate his analysis and therefore also his
conclusions.

         B. The Rake Declaration Relies Upon an Incorrect Understanding of The
               Ordinary Observer Test
        158.     Mr. Rake improperly uses deception of the ordinary observer to induce purchase
as the measurement of whether the designs are substantially the same, “[i]f the resemblance
deceives the observer, inducing him or her to purchase one supposing it to be the other, the designs
are substantially the same.” (Rake ¶39) (emphasis added). As explained in Section IV above, the
true measurement of infringement using the ordinary observer test is not based on whether the
ordinary observer is deceived into purchase.
        159.     The Rake Declaration also omits defining the level of attention of the ordinary
observer. In infringement analysis we establish the level of attention the purchaser would apply
to the accused product, a crucial step which Mr. Rake does not do. Mr. Rake does, however, asserts
that the purchaser will “do their homework” when buying articles such as hoverboards, and
research different brands online and read reviews. (Rake ¶ 40). I agree. A consumer informing
themself about the products for the first time would be focused primarily on user reviews, brands
and costs, and would apply very little attention to the intricacies of the finer styling details.
        160.     Based on the context of purchase, and the untrained eye of the purchaser, it is my
opinion that the hypothetical ordinary observer would possess “ordinary acuteness” and would
apply a relatively low level of attention to the aesthetics of the product. Thus, small visual details
(e.g., such as the air vent pattern on the underside or the specific shape of the shallow grooves on
the foot pads) would not affect their overall impression of the object as a whole.

         C. The Rake Declaration is Missing Critical Steps of Infringement Analysis
        161.     Mr. Rake does not construe the claims of the patent in light of the prior art, nor
does he provide analysis on whether they are “plainly dissimilar,” as is required in infringement
analysis (see Section IV). As outlined above in Section IV, infringement analysis requires the
claimed design of the Patents-In-Suit to first be construed.
        162.     Mr. Rake only provided textual information from the face of the Patents-In-Suit
(Rake ¶¶ 31-35) and did not provide any mention or analysis on their filing history, their prior


                                                  79
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 85 of 113 PageID #:16301




art or about the scope of each patent in light of the prior art, which is not identical. Without
construing the claims of the patent in light of the prior art, the analysis and resulting conclusions
that follow may become greatly undermined.
       163.    I am informed that after construing the claims, infringement analysis follows two
steps: The first step is a comparison of an infringing product to the Patents-In-Suit to evaluate
whether they are “plainly dissimilar.” If they are not plainly dissimilar the analysis moves on to
the second step of analysis comparing the conflicting designs to the prior art through the eyes of
an ordinary observer. Mr. Rake did not provide analysis on the first step of infringement analysis
but conducted the second step and thereby infers that the two designs are not plainly dissimilar.
       164.    Furthermore, his declaration also informs us that he did not analyze a physical
sample of the Accused Product at all. While not a mandatory part of analysis, his observations
may have been very different had he evaluated the Accused Product in person instead of relying
upon photographs with distorted perspectives.

        D. Mr. Rake’s Evidence Improperly Relies Upon Dimensions
       165.    Mr. Rake incorrectly infers dimensions from the design patents, but figures in
design patents do not represent fixed dimensions and can represent objects of any scale (See also
MPEP § 2125). In a paragraph on non-infringement analysis, Mr. Rake describes hoverboards in
general, and provides dimensions of wheel diameters and the distance between them (Rake ¶ 47).
He later improperly relies upon these dimensions as evidence that the overall shape of the
Patents-In-Suit is based on functionality; “The dimensions correspond to the dimensions of a
human foot, the distance between footpads corresponds to approximate ‘shoulder width’
dimensions of the user[.]” (Rake ¶¶ 58, 64, 70, 76).
       166.    Further, his opinion that the length of hoverboards is dictated by shoulder width not
only contradicts many prior art examples that are of varying lengths, but also ignores Mr. Rake’s
own design work. (See Rake ¶ 13). Skateboards too vary greatly in length, and even have short
versions (for example ‘penny boards’) and long versions (for example ‘longboards’) all of which
support two adult feet spaced apart in a similar way to hoverboards. Surfboards also serve as a
similar example and are considerably larger than skateboards.




                                                 80
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 86 of 113 PageID #:16302




         E. Mr. Rake Considers Ornamental Elements of The Claimed Designs as
              Functional Without Analysis or Evidence
       167.     Mr. Rake considers the overall hourglass shape of each of the claimed designs of
the Patents-In-Suit "largely based on functionality." (Rake ¶¶ 58, 64, 70, 76), but he provides no
analysis or evidence to explain his opinion. I disagree that any of the ornamental elements of the
claimed designs should be considered to be driven by function, as outlined in Section VI above.
In applying the correct standards, it is my opinion that none of the ornamental designs claimed in
the Patents-In-Suit are dictated by function, or otherwise purely functional.
       168.     I understand that to “entirely eliminate a structural element from the claimed
ornamental design, even though that element also served a functional purpose,” as Mr Rake has
done with the “overall shape” of the Claimed Designs, is not permitted.
       169.     I further understand that several factors may suggest that a feature is primarily
functional, including whether (1) the protected design represents the best design, (2) alternative
designs would adversely affect the utility of the specified article, (3) there are any concomitant
utility patents, (4) the advertising touts particular features of the design as having specific utility,
and (5) whether the feature is clearly dictated by function. Mr. Rake did not conduct this or any
functionality analysis, nor provide evidence that might support it.
       170.     Further, the Defendants’ second expert, Jim Gandy, does include consideration of
the overall hourglass shape in his analysis and Mr. Gandy does not consider its shape driven by
function. (See Gandy ¶¶ 21-22).
       171.     Furthermore, Mr. Rake also opines that the shape of the center portion is driven by
function, reasoning that “the narrowing at the center facilitates the needed twisting motion without
interference with the user or the ground" (Rake ¶¶ 58, 64, 70, 76) and provides as evidence the
prior art U.S. Patent 8,469,376. First, the center portion would not physically interfere with the
ground or with the feet even if they were as wide as the foot pads. Second, referring to prior art
with a portion that is similarly proportioned does not evidence functionality, in fact other prior art
cited on the patent also include center portions that are much wider, such as the U.S. Patent
7,424,927.




                                                  81
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 87 of 113 PageID #:16303




        F. The Rake Declaration Improperly Relies Upon Comparing Unclaimed Areas
       172.     Mr. Rake improperly compares unclaimed areas to corresponding areas in the
Accused Product and concludes an ordinary observer would “recognize that the [claimed design]
has prominent design element in the middle and the Accused Product is clean, without any such
design element.” (Rake ¶¶ 53, 59, 65, 71). I am informed that if an infringing product has a
different ornamental pattern to that shown as unclaimed in the Patents-In-Suit, it does not serve to
evidence non-infringement.

        G. The Rake Declaration Fails To Use The Correct Viewpoint Through Which To
              Base Opinions
       173.     The Rake Declaration includes many paragraphs that explain Gestalt Theory and
‘figure-ground theory’ to explain how an ordinary observer would perceive the designs, but they
completely disregard the effect of prior art to the ordinary observer’s perception of visual form.
Mr. Rake states he “relied on [Gestalt principles] in this analysis” (Rake ¶ 48) and “using well
established Gestalt principles, I then compared the differences/similarities between the D’723
Patent and Accused Product.” (Rake ¶ 51). In doing so, Mr. Rake did not apply the correct
viewpoint from which to understand how the ordinary observer would see the designs. How
certain features are represented in the prior art greatly affects the impression of a design to the
hypothetical ordinary observer (see example below) Mr. Rake neither analyzed the prior art nor
did he compare the designs to it in his analysis, which may seriously undermine his opinions.
 Table 32: The Prior Art Informs Us How The Ordinary Observer Views The Designs




                                                82
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 88 of 113 PageID #:16304




    When comparing the Claimed Design directly to the Accused Product (as in the Gorham Co. v. White,
    81 U.S. 511 (1871) example above), we notice differences. However only when we compare them to
    the prior art (example contemporary designs shown to the right), do we understand how insignificant
    those differences are.
           174.     For example, Mr. Rake states the size and shape of the fenders is an “important
design feature that has a significant effect on the overall visual impression of the ordinary
observer.” (Rake ¶¶ 57, 63, 69, 75). However, simply the visual impression created by open
fenders on an hour-glass shaped body is completely unique among the prior art of the D’723 and
D’256 Patents (See prior art in Table 5 above), and therefore an ordinary observer would not look
to small details to differentiate between designs.
           175.     In contrast, for the purposes of my analysis I considered prior art to define the scope
of the hoverboard market at the time the Claimed Designs were filed. In so doing, I was able to
better discern how similarities and differences (or lack thereof) between the Patents-In-Suit and
the Accused Product contribute to the overall impression in the eyes of the ordinary observer.

            H. Mr. Rake Improperly Relies Upon Whether Individual Differences Are
                  ‘Obvious’ Instead of Comparing The Overall Impression
           176.     Mr. Rake’s analysis concludes with his finding the Accused Product’s overall
appearance to be substantially different from both the (unspecified) prior art and the Patents-In-
Suit (Rake ¶¶ 46, 78–81). First, differences between the prior art and patented designs do not
evidence non-infringement, in fact differences are wholly expected5. The correct analysis is
whether the Accused Product is closer to the Patents-In-Suit than they are to the closest prior art
(see also Table 32 above). If they are, then we may conclude that the designs as a whole are
substantially the same.
           177.     As a further example, in Mr. Rake’s summary of opinions he explains “In my
opinion, the visual differences between the claimed designs of the Patents-in-Suit and the design


5
    I am informed that “One who seeks to pirate an invention, like one who seeks to pirate a copyrighted book or play,
may be expected to introduce minor variations to conceal and shelter the piracy. Outright and forthright duplication
is a dull and very rare type of infringement.” Schnadig Corp. v. Gaines Mfg. Co., 494 F.2d 383, 391-92 (6th Cir.
1974.)



                                                           83
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 89 of 113 PageID #:16305




of the Accused Product would be obvious to the ordinary observer.” (Rake ¶ 44 (emphasis added);
see also id. ¶¶78-81). However, whether differences are obvious is not relevant to the ordinary
observer test.

            I. Mr. Rake Improperly Relies Upon Small, Isolated Differences in Specific Views
                  And Not The Overall Impression
           178.     The Rake Declaration improperly relies upon insignificant isolated features in
specific views to analyze differences between the Accused Product and the Patents-In-Suit, and
not the overall impression of the design as a whole6. Specifically, Mr. Rake completely ignores
the overall shape of the hoverboard (improperly removing it asserting it to be functional) and
discusses only differences between specific features such as the air vents and grooves when viewed
from the underside, the lights when viewed from the front, and the grooves in the foot pads when
viewed from the top.
           179.     Mr. Rake’s analysis improperly prioritizes selected views over others because
“the user most commonly sees a hoverboard from a position standing over the board.” (Rake ¶ 41).
This may skew the analysis improperly toward specific features. In infringement analysis the
hypothetical ordinary observer would be familiar with all sides of the product based on the
combination of all viewpoints.
           180.     For example, in discussing hoverboards in general, Mr. Rake identifies specific
areas as "[t]he most prominent features” and provides a list of four isolated features. (Rake ¶ 41).
First, he ignores the overall shape of the hoverboard, or how the main body-parts form together,
aspects that create the overall impression of the product as a whole. Second, Mr. Rake bases this
narrow focus on his current view of current hoverboards as a category and not based on the Patents-
In-Suit or how the ordinary observer would view it in light of the prior art of the time. Viewing
the prior art shown in Table 5–7 above, it would be quite improper to only compare their visual




6
    I am informed that in evaluating infringement, courts determine whether "the deception that arises is a result of
similarities in the overall design, not of similarities in ornamental features considered in isolation." Amini Innovation
Corp. v. Anthony Cal., Inc., 439 F.3d 1365, 1371 (Fed. Cir. 2006) (citing Keystone Retaining Wall Sys. V. western,
Inc., 997 F.2d 1444, 1450 (Fed. Cir. 1993)).



                                                            84
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 90 of 113 PageID #:16306




impression based on only “the design of the two foot pads, the design of the wheels, visual details
on the neck between the footpads, and the shape of the fenders that cover the wheels” (Rake ¶ 41).
 Table 33: Mr. Rake improperly factors out the body from his analysis




 Mr. Rake describes these four selected areas as the “most prominent features impacting the overall
 visual impression to the ordinary observer” (Rake ¶ 41), factoring out the shape of the body itself and
 the impression of the object as a whole. Also note that three of these four areas are unclaimed in one
 or more of the Patents-In-Suit and therefore should not be part of a comparative analysis.



       181.     Other than simply listing the above four small differentiators, Mr. Rake does not
provide evidence as to why these would be the most prominent areas of the overall impression as
viewed by an ordinary observer and does not present evidence on how the prior art may
support this opinion. For example, in analyzing differences between the Accused Product and
the Patents-In-Suit Mr. Rake focuses on a single line and vent hole pattern in one specific view of
the drawing as representing a “prominent” deviation (Rake ¶ 56, 62, 68, 74). While these are
details that contribute to the overall impression in certain views, their omission would not have a
great effect on the impression of the design as a whole.




                                                   85
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 91 of 113 PageID #:16307




        J. The Rake Declaration Omits Critical Views and Evidence
       182.     In several places in the Rake Declaration, Mr. Rake refers to appearances from
specific views but illustrates this using a different view, completely omitting the view which he
refers to. For example, at Rake ¶¶ 53, 59, 65, and 71, Mr. Rake opines that, "From the Top and
Front views, the differences in shape and design of the footpads is clear" and, in Rake ¶¶ 54, 60,
65, and 71 that "The front view we can see dramatic and obvious difference in the size, shape, and
character of the lights". Mr. Rake’s statements only add confusion, rather than point to relevant
evidence.
       183.     Additionally, Mr. Rake states, "I consider the Top and Front views to be the most
important in my analysis" (Rake ¶¶ 55, 61, 67, and 73) but omits to provide these specific views
in any of his provided tables. While it is not evidence of malintent to omit selected views from
the declaration, it is nevertheless unhelpful to omit the specific views he explicitly refers to as
being the most important, and instead only show other figures.

        K. The Reliability And Credibility of the Rake Declaration Is Undermined By His
              Errors
       184.     Despite Mr. Rake’s long history in providing expert testimony in intellectual
property matters, the Rake Declaration includes many improper and inaccurate analyses as
discussed above. There are also careless, critical errors and mistakes in his Declaration, which
together bear heavily on his conclusions.
       185.     This is especially surprising as Mr. Rake has submitted at least five other
declarations in this case and another related case with many of the same grave issues. These issues
and mistakes were identified in my respective rebuttals, and yet Mr. Rake did not make any
attempt to correct the issues. This further highlights the light-handedness of his analysis.
       186.     For example, in his declaration (as with many previous ones) he proposes that he is
“qualified to give an opinion about what would be understood by one skilled in the art of ceiling
fans like those at issue here" (Rake ¶ 23) (emphasis added), and that his relevant experience
includes “products that contain metal components" (id. ¶ 8) (emphasis added).
       187.     When addressing functionality for the very first time in the declaration, Mr. Rake
refers back to an explanation of functionality that is not preceding in the Declaration at all, i.e.,




                                                 86
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 92 of 113 PageID #:16308




"[t]he overall shape of the D’723 Patent claim is, as I explained earlier, largely based on
functionality" (Rake ¶ 58) (emphasis added).
       188.    In introducing the D’857 Patents in the Rake Declaration, Mr. Rake states, in his
own words, “Broken lines set forth the bounds of the claimed design and form no part thereof”,
giving the impression that some of the figures include broken lines. However, there are no broken
lines in the D’857 Patents whatsoever, which Mr. Rake either failed to notice or he mistakenly
wrote the wrong statement. (Rake ¶36).
       189.    To support his argument on how the fender design of the Accused Product have
“significant and glaring” differences to the claimed design of the D’723, Mr. Rake shows an image
of each alongside a figure from the US 8,469,376 (“the ‘376”). The ‘376 has a relatively flat are
above the wheels, thus showing a distinctly different approach to covering the wheel from either
of the other two and completely contradicting the argument Mr. Rake attempts to make.
    Table 34: Mr. Rake seems to ignore the prior art when stating that the Accused Product and
    D’723 have “significant and glaring” differences in fender design.




                                          Figure from Rake ¶63.
       190.    The above list of errors highlights the lack of attention Mr. Rake paid to the
reporting of his analysis. Moreover, his copy-and-paste of sections from other cases show his lack
of attention paid to this case, and therefore his Declarations may be given little or no weight in
supporting Defendants’ noninfringement position.



                                                  87
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 93 of 113 PageID #:16309




       ANALYSIS OF THE GANDY DECLARATION
       191.    The credibility of the Gandy Declaration is undermined by his failure to apply the
correct legal procedure or analysis for infringement analysis, which I will detail in this section.

        A. The Gandy Declaration fails to construe the scope of the Patents-In-Suit
       192.    As outlined in Section IV above, an infringement analysis requires the claimed
design of the Patents-In-Suit to first be construed. Mr. Gandy failed to provide any information
from the face of the patents or make any mention or analysis on their filing history, their prior art
or provide opinions on the scope of each patent in light of the prior art. Without construing the
claims of the patent in light of the prior art, the analysis and resulting conclusions that follow may
be greatly undermined.
       193.    Mr. Gandy’s failure to construe the Patents-In-Suit is even more so confounding
considering he explicitly stated this as a necessity for infringement analysis, “it is my
understanding that design patent infringement is determined by first construing the claim to the
design and then comparing it to the design of the accused device." (Gandy ¶ 20).

        B. The Gandy Declaration Omits Critical Steps of The Ordinary Observer Test
       194.    I am informed that after construing the claims, the infringement analysis follows
two steps: The first step is a comparison of the Accused Products to the Patents-In-Suit to evaluate
whether they are ‘plainly dissimilar’. Mr. Gandy went immediately to conduct the second step of
the test, thereby skipping the critical first step of the ordinary observer test. As the second
step of the ordinary observer test is only necessary if the designs are not plainly dissimilar, Mr.
Gandy’s actions suggest he considered them to be not plainly dissimilar.
       195.    However, after conducting the three-way comparison which aims to conclude
whether in the light of the prior art the conflicting designs are ‘substantially the same’, Mr. Gandy
concludes only that the designs are “dissimilar”. (Gandy ¶¶ 44, 61, 66, 83, 100, 105, 122). Not
only is this the wrong level of acuteness for the three-way comparison, but also it contradicts his
previous actions in skipping the test for being plainly dissimilar. While it may be inferred that he
misstated his conclusions or used the wrong terms, it is clearly misleading that he refers
specifically to ‘dissimilarity’ and may undermine the credibility of his testimony.




                                                 88
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 94 of 113 PageID #:16310




        196.     The table below illustrates the main steps of infringement analysis typically
conducted by a plaintiff’s expert. This is a simplified diagram, only to illustrate the steps Mr.
Gandy should have conducted.


 Table 35: Mr. Gandy did not construe the scope of the claim, and did not conduct the first step of
 the ordinary observer test.




        197.     It is important to note that a finding of the conflicting designs as being plainly
dissimilar is a high bar, as it represents that the dissimilarities are so great there is no need to
compare them directly to the prior art. Mr. Gandy does not conduct the correct analysis to draw
this conclusion.

         C. The Gandy Declaration Fails to Define The Level Of Attention Of The
               Ordinary Observer
        198.     Mr. Gandy asserts only that the ordinary observer in this case is “is a potential
purchaser who is familiar with hoverboards and their different designs.” (Gandy ¶ 21). I disagree
that the purchaser of hoverboards at this entry-level price-point would be so familiar with the
market. Nevertheless, the ordinary observer’s familiarity with the category is not relevant to this
analysis, as the hypothetical ordinary observer already has knowledge of the relevant prior art. In
infringement analysis the definition of the purchaser is used to establish the level of attention they
may apply to aesthetics, form and styling details. In my opinion, the purchaser would be focused
primarily on user reviews, brands and costs, and would apply very little attention to the intricacies
of the finer styling details.
        199.     Based on the context of purchase, and the untrained eye of the purchaser, it is my
opinion that the hypothetical ordinary observer would possess “ordinary acuteness” and would

                                                  89
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 95 of 113 PageID #:16311




apply a relatively low level of attention to the aesthetics of the product. (see Section IV for my full
description of the ordinary observer). Thus, small visual details (e.g., such as the air vent pattern
on the underside or the specific shape of the shallow grooves on the foot pads) would not affect
their overall impression of the object as a whole.

         D. The Gandy Declaration Applies A Trained Eye Instead Of The Ordinary Level
              Of Attention Of The Ordinary Observer
       200.     In many areas Mr. Gandy describes subtleties in form that he, as an expert in the
field of patents was able to detect, but these small details seen only in isolated areas from certain
angles are not salient to the eyes of an ordinary observer with ordinary acuteness, as the test
requires. For example, Mr. Gandy detects a “slightly raised convex contour” in the very middle of
the hoverboard when viewed from the front, whereas the corresponding area of the Accused
Products is substantially flat (Gandy ¶ 30, 36, 53, 64, 69, 75, 86, 92, 103, 108, 114).
 Table 36: Mr. Gandy’s trained eye finds subtleties an ordinary observer would not




 Closeup, middle section of the D’256 Patent.
 In this particular view we can see curvature.
 Note also, the D’195 Patent does not have an         Closeup, corresponding middle section of

 upward curvature here.                               Accused Product A




 But when viewed at other angles, this slightly raised convex contour is not salient to the overall
 impression of the object as a whole to the ordinary observer.




                                                    90
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 96 of 113 PageID #:16312




       201.     Mr. Gandy uses his trained eye on several other areas too, often only focused on
one particular viewpoint to draw comparisons of dissimilarity. For example, he finds subtle
differences in the hourglass shape in the top view. I do not dispute there are differences, but they
would not have a great effect on the impression of the design as a whole to the ordinary observer.
       202.     For example, when comparing the general hourglass shape of the body, Mr. Gandy
opines that “the hour glass peripheral shape of the prior art ‘906 patent appears to be closer to the
claimed design of the [Patents-in-Suit] than the design of the Accused Product[s]”. (Gandy ¶¶ 30,
36, 42, 47, 53, 59, 64, 86, 92, 98, 103). First, any differences in the general hourglass shape are
subtle and would not be significant to the ordinary observer when viewing the product as a whole.
Second, even when (improperly) applying a trained eye level analysis on the contour of the
hourglass shapes, it is the D’906 that differs the most, further undermining Mr. Gandy’s argument.
       203.     Further, even though Mr. Gandy regards small differences in the hourglass outer
shape to be important, he fails to detect any differences between the individual Patents-In-Suit
and handles them in exactly the same way.

        E. The Gandy Declaration Conducts the Analysis Only Through Skewed Photos
              and Not From Samples Of The Accused Products
       204.     Mr. Gandy’s Declaration informs us that he did not analyze physical samples of
the Accused Products at all. While not a mandatory part of analysis, his observations may have
been very different had he evaluated the Accused Products in person instead of relying upon
photographs with distorted perspectives.
       205.     His non-analysis of the physical products also misled him into falsely believing
that the front and back of the Accused Product are identical, an assumption that was repeated
in many places in all the Declarations. Specifically, he used two views of the Patents-In-Suit to
show the front and back, whereas for the Accused Product he only provided a view of the front.




                                                 91
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 97 of 113 PageID #:16313




Table 37: Mr. Gandy was misled to think the front and back of the Accused Products are identical.




                                    Images from the Gandy Declaration




                                                92
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 98 of 113 PageID #:16314




        F. The Gandy Declaration Relies on Improper Analysis Of The Markings
       206.     In his infringement analysis Mr. Gandy lists differences between the Accused
Products and the Patents-In-Suit and includes as a point of differentiation that the Accused
Products include the logo “GYROOR"(Gandy ¶¶ 33, 39, 44, 48, 54, 60, 65, 89, 95, 100, 105). As
detailed in Section IV above, the use of a logo is not relevant to this comparison and does not
afford avoidance of infringement. Considering Mr. Gandy’s extensive experience with patent
analysis, his repeated inclusion of the logo as an argument for non-infringement may put the
reliability of his testimony in question.

        G. The Gandy Declaration Relies on “Some Differences” as the Evidence for
              Infringement
       207.     After finding isolated differences between the Accused Products and the Patents-
In-Suit, Mr. Gandy concludes “it’s my opinion that the claimed design of the ‘195 patent has some
surfaces and features that are closer in overall shape and appearance to the design in the prior art
patent D’906 patent than the design of the Accused Product” (Gandy ¶ 38) (emphasis added). In
his opinion these differences make the Accused Products distinct which leads to his conclusion
that “the design of the Accused Product does not infringe the claimed design of the ‘195” (Id.).
The finding that “some” isolated features are similar to the prior art is not enough evidence to
conclude non-infringement; the test concerns the overall impression of the object as a whole, and
whether the impression of the Accused Products is closer to the Patents-In-Suit than to the D’906
Patent. This is especially critical considering the impression of the D’906 Patent has already been
found to be substantially different and possibly dissimilar from the Patents-In-Suit by the
examiner.

        H. Mr. Gandy Improperly Relies Upon Small, Isolated Differences in Specific
              Views and Not the Overall Impression
       208.     The Gandy Declaration improperly relies upon insignificant isolated features in
specific views to analyze differences between the Accused Products and the Patents-In-Suit, and
not the overall impression of the design as a whole. Specifically, he discusses only differences
between isolated features such as the air vents and grooves when viewed from the underside, the
lights when viewed from the front, the grooves in the foot pads and the exact outer contour of the
hourglass shape when viewed in the top view. Such small, isolated details become of very low


                                                93
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 99 of 113 PageID #:16315




significance to the overall impression when viewing the product as a whole, particularly when
applying the level of attention that the purchaser would apply, which in this case is quite low.
       209.    For example, Mr. Gandy repeatedly describes at length small, isolated differences
such as the lines and bumps on the front of the Accused Products and the Patents-In-Suit (Gandy
¶¶ 33, 39, 44, 72, 78, 83). While there are differences in the ‘light’ area of the conflicting designs,
his detailed descriptions appear to be an attempt to detract from the fact that the closest prior art
D’906 is completely devoid of such features in this area.
       210.    A similar method of highlighting minute differences is also applied to other areas
of the designs in specific views. For example, Mr. Gandy describes small differences in vents and
styling lines the bottom view, but omits to mention the closest prior art D’906 has no such details
whatsoever. As further example, Mr. Gandy describes differences between the grooves and shapes
of the foot pads in the top view, where the D’906 is completely devoid of any definitive foot pads.
       211.    Further, Mr. Gandy’s analysis improperly prioritizes selected views over others,
which may skew the analysis unfairly toward specific features. In infringement analysis the
hypothetical ordinary observer would be familiar with all sides of the product based on the
combination of all viewpoints. The viewpoint of the hypothetical ordinary observer is not limited
to specific views but views the form as a whole.

        I. The Gandy Declaration Fails to Provide Evidence to Support Its Opinions
       212.    Mr. Gandy also omits evidence that contradicts his opinions. For example, in each
of Mr. Gandy’s charts he presents a figure from the Patent-In-Issue to a similar angle of the
Accused Products and a similar angle of the D’906 Patent. However, when opining on the foot
pads, he completely omits the corresponding image of the D’906 Patent which as we can see below,
for example, differs greatly from the design of the Accused Products and contradicts his opinion.
(See Gandy ¶¶ 32, 38, 49, 55, 71, 77, 88, 94, 110, 116). While the ordinary observer can see
differences between these particular parts of the two designs, the D’906 presents a radically
different impression.




                                                  94
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 100 of 113 PageID #:16316




 Table 39: Mr. Gandy omits showing the D’906 (added, right) in his table comparing the foot pads.




                                                                      Omitted corresponding view
                   Figures from the Gandy report                             from the D’906
       213.    In comparing the fender designs he states that “the wheel covers of the design of
Gyroor “C” hoverboard are wider than those of the design of the ‘256 patent.” (Gandy Report ¶
76). His statement is not untrue, but it focuses on a small differences between the ‘256 Patent and
the Accused Product, and completely ignores how entirely different the same area of the D‘906
Patent presents itself. Below is the comparison Mr. Gandy provides, in which we can clearly see
the starkly differing design of the D‘906 Patent which depicts a fender skirt that almost entirely
occludes the wheel.
 Table 40: The ‘906 Presents a Very Different Impression in the Wheel Area To The Ordinary
 Observer.




       214.    This tactic is also employed when discussing the front surface in the area of the
‘lights’, where his accompanying illustration clearly shows that the ‘906 is ‘the odd man out’ in
being devoid of any decoration, ‘lights’ or styling lines on the front surface.




                                                   95
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 101 of 113 PageID #:16317




 Table 41: The ‘906 Presents a Very Different Impression of the ‘Lights’ Area To The Ordinary
 Observer.




         J. Analysis of Mr. Gandy’s Rebuttal of Hatch Infringement Report
        215.    In his short rebuttal of my Infringement Analysis, Mr. Gandy incorrectly states that
certain features are not adequately described; the shape of the footpads, contour of the narrow
central portion, the specific shape of the fenders, specific shape of the lights, and the features on
the bottom. However, these were all part of my analysis, and many were referred to in several
parts of my report. Moreover, the descriptors I used were to describe the impression of the design
as a whole as seen by the ordinary observer, and therefore some details such as the vents on the
bottom and the slight curvature on top of the middle portion were not specifically called out as
they are insignificant to the overall impression.
        216.    Mr. Gandy is also misinterpreting the law in his assertions that I failed to
“adequately” compare the designs to the prior art or define the closest prior art. I understand that
it is the burden of the Defendants and not the Plaintiff to provide what they consider the closest
prior art and provide an analysis that evidences their opinion. Egyptian Goddess specifically
provides that “if the accused infringer elects to rely on the comparison prior art as part of its defense


                                                    96
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 102 of 113 PageID #:16318




against the claim of infringement, the burden of production of that prior art is on the accused
infringer.” Egyptian Goddess, 543 F3d at 678.
       217.    Mr. Gandy also states I provide “overly broad” conclusions “not based upon
sufficient evidence”. I disagree, as my opinions about non-infringement were evidenced in ways
that Mr. Gandy failed, such as:
           •   Construing the claim scope of each the Patents-In-Issue,
           •   Setting the level of visual acuity for the ordinary observer through which to view,
           •   Presenting analysis on the cited prior art, and
           •   Presenting written descriptions of the overall impression of the design as a whole.

       CONCLUSION
       218.    Based upon the application of the legal principles described in this declaration, and
upon my examination, analysis and comparisons of the Patents-In-Suit, their file histories, the prior
art, and the Accused Products, it is my opinion that:
       -   Gyroor A is not plainly dissimilar to the claimed design of the D‘723 Patent and is
           substantially the same as the claimed design of the D‘723 Patent in the eyes of the
           ordinary observer in light of the prior art.
       -   Gyroor A is not plainly dissimilar to the claimed design of the D‘256 Patent and is
           substantially the same as the claimed design of the D‘256 Patent in the eyes of the
           ordinary observer in light of the prior art.
       -   Gyroor A is not plainly dissimilar to the claimed design of the D‘195 Patent and is
           substantially the same as the claimed design of the D‘195 Patent in the eyes of the
           ordinary observer in light of the prior art.
       -   Gyroor B is not plainly dissimilar to the claimed design of the D‘723 Patent and is
           substantially the same as the claimed design of the D‘723 Patent in the eyes of the
           ordinary observer in light of the prior art.
       -   Gyroor B is not plainly dissimilar to the claimed design of the D‘256 Patent and is
           substantially the same as the claimed design of the D‘256 Patent in the eyes of the
           ordinary observer in light of the prior art.




                                                 97
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 103 of 113 PageID #:16319




      -   Gyroor B is not plainly dissimilar to the claimed design of the D‘195 Patent and is
          substantially the same as the claimed design of the D‘195 Patent in the eyes of the
          ordinary observer in light of the prior art.
      -   Gyroor B is not plainly dissimilar to the claimed design of the D‘112 Patent and is
          substantially the same as the claimed design of the D‘112 Patent in the eyes of the
          ordinary observer in light of the prior art.
      -   Gyroor C is not plainly dissimilar to the claimed design of the D‘723 Patent and is
          substantially the same as the claimed design of the D‘723 Patent in the eyes of the
          ordinary observer in light of the prior art.
      -   Gyroor C is not plainly dissimilar to the claimed design of the D‘256 Patent and is
          substantially the same as the claimed design of the D‘256 Patent in the eyes of the
          ordinary observer in light of the prior art.
      -   Gyroor C is not plainly dissimilar to the claimed design of the D‘195 Patent and is
          substantially the same as the claimed design of the D‘195 Patent in the eyes of the
          ordinary observer in light of the prior art.
      -   Gyroor D is not plainly dissimilar to the claimed design of the D‘723 Patent and is
          substantially the same as the claimed design of the D‘723 Patent in the eyes of the
          ordinary observer in light of the prior art.
      -   Gyroor D is not plainly dissimilar to the claimed design of the D‘256 Patent and is
          substantially the same as the claimed design of the D‘256 Patent in the eyes of the
          ordinary observer in light of the prior art.
      -   Gyroor D is not plainly dissimilar to the claimed design of the D‘195 Patent and is
          substantially the same as the claimed design of the D‘195 Patent in the eyes of the
          ordinary observer in light of the prior art.
      -   Gyroor D is not plainly dissimilar to the claimed design of the D‘112 Patent and is
          substantially the same as the claimed design of the D‘112 Patent in the eyes of the
          ordinary observer in light of the prior art.
      -   Gyroor E is not plainly dissimilar to the claimed design of the D‘723 Patent and is
          substantially the same as the claimed design of the D‘723 Patent in the eyes of the
          ordinary observer in light of the prior art.



                                                98
Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 104 of 113 PageID #:16320




       -   Gyroor E is not plainly dissimilar to the claimed design of the D‘256 Patent and is
           substantially the same as the claimed design of the D‘256 Patent in the eyes of the
           ordinary observer in light of the prior art.
       -   Gyroor E is not plainly dissimilar to the claimed design of the D‘195 Patent and is
           substantially the same as the claimed design of the D‘195 Patent in the eyes of the
           ordinary observer in light of the prior art.
       219.    Therefore, an ordinary observer familiar with the prior art, giving such attention as
a purchaser usually gives would find the overall appearance of each of the Accused Products to be
substantially the same as the overall appearance of one or more of the claimed designs of the
Patents-In-Suit in light of the prior art, inducing him or her to purchase the Accused Products
supposing it to be the Claimed Design.

       RESERVATION OF RIGHTS
       220.    My current opinions are set forth in this Declaration. However, my analysis is
continuing, and I thus reserve the right to supplement or amend my Declaration and to rely on
additional documents, prior art, or discovery or testimony that may come to my attention.
       221.    Moreover, I may make additions, deletions, or modifications to this Declaration
and my opinions in the future that would be reflected in my testimony at the trial and/or additional
Declarations that I may be asked to submit in this case. I also reserve the right to rely on all other
expert Declarations submitted in this case. For the forthcoming trial, I may prepare diagrams,
charts, other demonstratives, and/or demonstrations that illustrate the issues presented. I reserve
the right to respond to additional arguments or analyses proffered by expert witnesses and/or the
Defendant, and I understand that I may be asked to give rebuttal testimony on matters not covered
in this expert Declaration.
       I declare under penalty of perjury that the foregoing is true and correct.

Dated: January 25, 2023                                   Respectfully Submitted,



                                                          ____________________________
                                                          Paul Hatch



                                                 99
  Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 105 of 113 PageID #:16321



Appendix A

RESUME OF PAUL HATCH – August 2022

Professional Design Experience:

Oct 1998 – July 2020
CEO, TEAMS Design USA, Inc

May 2014 - 2018
Co-Founder, Design House LLC (Non-profit organization)

April 1993 - Oct 1998
Senior Designer, TEAMS Design GmbH, Germany.

Sept 1991- Sept 1992
Junior Industrial Designer, IDEA Design, Germany

July 1991 – Sept 1991
Junior Industrial Designer, Schroerdesign, Germany

June 1990 – Sept 1990
Junior Industrial Designer, DA Display Ltd, UK


Education:

Ph.D. in Learning Sciences at University of Illinois, Chicago (current).

BA (Hons) Degree ‘Design For Industry’ from University of Northumbria at Newcastle, Newcastle-upon-Tyne,
UK.

Diploma in General Art & Design, Sutton Coldfield College of Further Education, Sutton Coldfield, West
Midlands, UK.


Books Published
"REALIZE - Design Means Business" (Portuguese translation), 2009
"REALIZE - Design Means Business" (Chinese translation), 2008
“REALIZE – Design Means Business” (US original. Co-editor and contributor), 2006
“IMPACT, the Synergy of Technology, Business and Design” (Co-editor and contributor), 2005


Published Articles and Papers:
Innovation Magazine: “Immersive Design: What The Metaverse Means For Industrial Design”, April 2022
Innovation Magazine: “Design Is Dead, Long Live Design”, June 2018
LinkedIn Pulse: “Disruptive Innovation …For Stability”, May 2017
Innovation Magazine: “The State of Design – Maintaining a Proper Vision”, Summer 2016
LinkedIn Pulse: “Getting Emotional – Design, UX and Magic” – Sept 2016
LinkedIn Pulse: “The Local Revolution –How Design is Reinventing Manufacture”, Mar 2016
LinkedIn Pulse: “Design Thinking Is Only Half The Story”, Jan 2016
  Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 106 of 113 PageID #:16322



LinkedIn Pulse: “The Macintosh Moment –Why IoT Needs ID, UX and Design Thinking” Feb 2016
LinkedIn Pulse: “User Experience – Fun For All The Family”, Dec 2015
Innovation magazine: “To Design Is Human”, Spring 2013
Innovation magazine: “Finding The Sweet Spot”, Spring 2010
Insight magazine: “Profit, By Design”, April 2005
Innovation magazine “Designer In The Middle”, Spring 2004
Innovation magazine: “How To Avert The Asian Shift”, Fall 2004
International Housewares Association Magazine: “Brand Differentiation Through Design Details”, Feb 2003


Television, Book and Magazine Interviews
(Book) “Extended Reality: The Next Frontier of Design”. Ralf O Schneider, April 2021
PRISM Podcast: "The Changing World of Design with Paul Hatch", April, 2021
Learning Sciences Research Institute – “Seeing A Way To Help”, Sept 2020
DesignDrives Podcast – “Paul Hatch – Driving Innovation in Connected AI Products”, March 2020
Apple podcast “Context” – “Interview with Paul Hatch” , July 2019
Appliance Design Magazine: “The Internet of Things and The Pampered User”, March 2019
Appliance Design Magazine: “Connected Product Design”, July 2018
Appliance Design Magazine: ”Paul Hatch Discusses the Intersection of Quality Data and a Better User
Experience, April 2018
Bosch Connected World: “Industrial Design in the Age of IOT”, Feb 2018
Child Art /Learning From Design: “Paul Hatch” , Fall 2016
Pittsburgh Technology Council (site): “It’s All In The Jam!”, Feb 2016
Chicago Tribune: “How A Group of Chicago Product Designers Aims to Boost Manufacturing”, June 30 2014
IDSA site: “Paul Hatch on The Changing Mechanics of the Design Business”, June 2014
(Book) “Breaking In” by Amina Horozic, May 2014
(Book) “Drawing For Product Designers” by Kevin Henry, Sept 2012
Taiwan “Designer” Magazine: “Teams Design To Success in Past 50 Years”, Dec 2011
IDSA site: “What Paul Hatch Thinks About Contrast”, Mar 2011
New York Daily News: “From 0 to 60 in the Kitchen”, June 2009
(Television) “190 North”, June 2006
Appliance Design Magazine: “IATC Review: Taking A World View”, May 2006
Appliance Design Magazine: “Industrial Design and Human Factors”, March 2004
(Television) “World Business Review with Alexander Haig”, May 2003




Conference Presentations, Proceedings and Invited Lectures:
Invited Speaker: Design & Cognitive Psychology – SCAD, Georgia, Sept 2020
Invited Speaker: Design & Cognitive Psychology – UIC Chicago, Mar 2020
  Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 107 of 113 PageID #:16323



Keynote Speaker: UX and IOT – Newell Congress Chicago, July 2018
Invited Speaker: Connecting the Smart Home to the Homeowner – International Housewares Show, Jan
2018
Invited Panelist: Intellectual Property and Design Rights – 13th Annual Foley IP Conference, Sept 2017
Keynote Speaker: Naked Design and Visual Perception – North Carolina State University, Nov 2017
Keynote Speaker: Communicate or Die – UIUC, Dec 2016
Keynote Speaker: The World Class Designer – Newell Summit, Kalamazoo, Oct 2016
Invited Speaker: IOT and The Macintosh Moment –Connected World Conference, Sept 2016
Keynote Speaker: Talking Loud & Clear- CSULB San Francisco, Aug 2016
Invited Speaker: UX and IOT – Windy City Things, June 2016
Keynote Speaker: Design For Local – IDSA International Conference, Atlanta, Aug 2016
Keynote Speaker: Design Like an ID-IOT – Manifest, Chicago, May 2016
Keynote Speaker: UX and the ID-IOT – IDSA Western District Conference, Denver, March 2016
Invited Speaker: Brand Personalities – DMI National Conference, Boston, Sept 2015
Keynote Speaker: Design For Local – PD+I Conference, London, May 2015
Keynote Speaker: Paul Hatch and the Evolution Of Consumer Products – Garmin Center, March 2015
Invited Speaker: The Changing Mechanics of the Design Business, IDSA International Conference, Austin,
June 2014
Invited Speaker: Design as a Center Of Excellence – Bosch Global Summit May 2014
Keynote Speaker: Visual Perception and the Designer – Purdue University Oct 2013
Invited Participant: The Meaning Of Life – Ignite Talk, ORD Camp, Chicago May 2013
Keynote Speaker: Communicate Or Die – IDSA Midwest District Conference 2012
Keynote Speaker: Designing For International Markets – Stryker Summit, Kalamazoo, June 2012
Invited Speaker: Run Like A Designer – IDSA Southern District Conference, May 2011
Invited Speaker: Reinventing The Wheel - IDSA Midwest District Conference, April 2011
Keynote Speaker: Future Tech trends – IATC Engineering Conference, May 2010
Invited Panelist: The Top i-Gadgets – Consumer Electronics Show, Jan 2010
Invited Participant: Designer Mixtape– IDSA International Conference Aug 2009
Keynote Speaker: Creating A Creative Culture -ID-DNA- IDSA Midwest Conference, March 2009
Invited Speaker: Protecting Brand Equity – PDMA, 2008
Invited Panelist: Developing A Brand Identity To Grow Your Margins -Consumer Electronics Show, Jan
2006
Invited Speaker: Brand Differentiation Through Design Details – International Housewares Show, Jan 2003
Invited Speaker: Design in the USA – USA Forum, Frankfurt Germany, Feb 2000


Professional Honors and Other Achievements:
2022 Graduate Research Fellow, National Science Foundation
2018 Presented the IDSA Fellowship Award.
  Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 108 of 113 PageID #:16324



2016 was elected onto the board of the IDSA as Director-at-Large.
2015 Called to meeting at The White House by Barack Obama and Secretary of
Commerce Penny Pritzger for Forum on supporting US manufacture.
2014 Founded Design House Inc, a nonprofit organization whose mission is to help
revitalize local manufacture through design.
2013 Elected Chair of IDSA International Conference ‘Breaking The Rules’
2009 Third design professional ever to be awarded the IDSA Midwest Honors for
Outstanding Achievement.
2005-07 Elected to The Board of Directors, Industrial Designer Society of America.
2006 Elected Chair for IDSA Midwest Conference “Home, Urban Seduction & Design”,
Chicago, IL
2005 Elected Chair for IDSA Midwest Conference “Impact -Design Means Business” at
University of Urbana-Champaign, IL.
2005 Founded and ran ‘Fight Club’, which NY Times called “A Designer Slugfest”. It
later became a pilot Reality TV show.
2004 Elected Chair for IDSA Midwest Conference “Shift Happens”, Chicago, IL
2000 Received the “Design of The Decade Award” from Business Week and the IDSA
for TEAMS Design’s achievements.


Awards:
2020
IDEA Jury Chair Award
IDEA Medical Device Gold Award
2011
Appliance Design EID Silver Award : Business Machine – HoMedics Inc. Black &
Decker Hanging Crosscut 6-Sheet Paper Shredder
Appliance Design EID Silver Award: Small Appliances – Robert Bosch Corp., 12" Dual-
Bevel Glide Miter Saw
Appliance Design EID Silver Award: Small Appliances – HoMedics Inc., Black &
Decker iShred
Appliance Design EID Bronze Award: Small Appliances – Jarden Consumer Solutions,
Mr. Coffee Optimal Brew Thermal Coffeemaker
2010
iF Product Design Award: Mr. Coffee Optimal Brew Thermal Coffeemaker
ID Magazine Annual Design Review: Robert Bosch Full Force Pneumatic Nail Guns
Appliance Design EID Award: Federal Signal Automated Parking Products
Appliance Design EID Award: Robert Bosch Full Force Pneumatic Nail Guns
Appliance Design EID Silver Award: Federal Signal Automated Parking Products
Universal One & Universal PS
Appliance Design EID Silver Award: Robert Bosch Full Force Pneumatic Nail Guns
Appliance Design EID Bronze Award: Sunbeam Products Flat Panel Heater
  Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 109 of 113 PageID #:16325



Appliance Design EID Award: Sunbeam Products Flat Panel Heater
2009
Appliance Design EID Silver Award: Robert Bosch RS35 Reciprocating Saw
Appliance Design EID Silver Award: Argus Camera Company Kid's Cameras Bean
and Sprout
IHA Award: Wusthof-Trident Precision Edge Electric Knife Sharpener
IHA Award: Smith's Edge Diamond Edge Electric Knife and Scissors Sharpener
Good Design Award: Robert Bosch Pneumatic Nailers
Good Design Award: RS35 Demolition Reciprocating Saw
Good Design Award: Precise Path Robotics RG3 Robotic Greens Mower
IDEA Award: Argus Bean Children's Digital Camera
2008
ADEX Award: Mansfield Reo Bathroom Suite
ADEX Award: Mansfield Essence Bathroom Suite
Good Design Award: Argus Camera Kid's Cameras Bean and Sprout
Spark Award Bronze: Precise Path RG3 Mower
2005
Good Design Award: LR Nelson Costco 3 Piece Nozzle Set
2001
iF Product Design Award: Karcher HDS 698 CSX Heated Pressure Washer
2000
Design of the Decade (IDSA /BusinessWeek): Karcher Full Line of Power Washers
I.D. Magazine Design Awards: Siemens Easy Control Climate Control Unit
iF Product Design Award: Siemens Easy Control Climate Control Unit


LIST OF PATENTS (Design patents, utility patents and patents pending).

2021/0076929 2021      Vision Measurement Device and Method of Measuring Vision Using The Same

2020/0069089 2020      Food Product Dispenser and Valve

WO 063584      2019    Vision Measurement Device and Method of Measuring Vision Using the Same

EP3687373      2018    Vision Measurement Device and Method of Measuring Vision Using the Same.

10,470,597     2019    Food Product Dispenser and Valve

10,194,763     2019    Food Product Dispenser and Valve

2019/0006,862 2019 Power pack vending apparatus, system and method of use for charging packs with
              biased locking arrangement

10,084,329     2018 Power pack vending apparatus, system, and method of use for charging power
               packs with biased locking arrangement

D800803        2017    Table Saw
  Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 110 of 113 PageID #:16326



D794407       2017   Power tool

9,717,354     2017   Food product dispenser and valve

2017/0251846 2017    Food Product Dispenser and Valve

D761337       2016   Saw

DE10 209490   2016   Werkzeugaufbewahrungsvorrichtung (Tool Storage Device)

9,132,559     2015   Cutlery having improved gripping ergonomics

2014/0214,518 2014   System and method for price matching and comparison

D689252       2013   Portion of floor cleaning machine

D686791       2013   Vacuum cleaner handle

D674371       2013   Portable audio device

2012/0159793 2012    Slidable chopping attachment for kitchen knives

D646935       2011   Cutlery block

D645715       2011   Pull saw

D639616       2011   Cutlery handle

D639615       2011   Cutlery handle

D639614       2011   Cutlery handle

JP005278      2011   IV Pole

7,703,750     2010   Storage apparatus

WO 019238     2010   Rotary food cutter with removable blade assembly

2010/0037,787 2010   Rotary food cutter with removable blade assembly

7,708,167     2010   Dispensing Apparatus

D607024       2009   Hinge boring bit

D594292       2009   Pizza cutter

D593817       2009   Box grater

D591118       2009   Bottle opener

D584111       2009   Colander

D583207       2008   Can opener

2008/0093,489 2008   Spice Grinder Assembly with Grind Adjusting Wheel

7,325,785     2008   Storage apparatus

D565164       2008   Volatile Dispenser

D559640       2008   Palm Grip Sander

D555435       2007   Spice grinder
  Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 111 of 113 PageID #:16327



D550027        2007   Pan handle

D555902        2007   Case for tool accessories

D553857        2007   Case for tool accessories

2007/0023455 2007     Dispensing Apparatus

D553233        2007   Volatile Dispenser

2007/0197152 2007     Powered paint removal tool

7,270,496      2007   Ring Mechanism for a ring binder

D533041        2006   Drilling and driving tool

D523634        2006   Insert bit dispenser

D518893        2006   IV Pole

D525096        2006   Tuck pointer

6,983,930      2006   Clamping device with flexible arm

WO 027702      2005   Dispensing apparatus

CA 2469977     2005   Ring mechanism for a ring binder

2005/0265775 2005     Ring mechanism for a ring binder

6,969,031      2005   Adjustable moveable IV stand

2004/0151,531 2004    Sound deadening mechanism for a ring binder

EP 1,706,010   2004   IV Pole

6,754,935      2004   Power tool handle

EP 1,509,366   2003   Power Tool Handle

2003/0221292 2003     Power tool handle

D470871        2003   Mobile oil dispenser

CA 2488612     2003   Power tool handle

D475595        2003   Circular saw with top handle

D475265        2003   Circular saw with rear handle

D441342        2001   Power station with corded backup
   Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 112 of 113 PageID #:16328



Appendix B

PRIOR TESTIMONY

The following is a list of all cases I have served as an expert witness and testified either at trial or by
deposition in the last 4 years:

 Year           Case                                Type
 2022           Cambria Company LLC v.              Design Patent Infringement
                Lakeside Surfaces Inc

 2020           Shure Inc., and Shure               Design Patent Infringement
                Acquisition Holdings, Inc., v.
                ClearOne, Inc
 2020           Skull Shaver, LLC v.                Design Patent Infringement
                Ideavillage Products
                Corporation
 2020           Cixi City Liyuan Auto Parts Co.     (ITC) Utility Patent Infringement
                Ltd., Tyger Auto, Inc., And
                Hong Kong Car Start Industrial
                Co. Ltd v. Laurmark
                Enterprises, Inc
 2019           Simpson Strong-Tie Company          Design Patent Infringement, Utility Patent
                v. Oz-Post International            Infringement

 2019           Black & Decker Corporation v.       JAMS Arbitration, Design Patent Infringement,
                Harbor Freight Tools                Utility Patent Infringement, Trade Dress
                                                    Infringement
 2019           Focus Products Grp, Int’l &         Trade Dress and Trademark Infringement, Design
                Zahner Design & Hookless            Patent Infringement, Utility Patent Infringement
                Systems & Sure Fit Home v.
                Kartri Sales, Co. & Marqui
                Mills Int’l
  Case: 1:20-cv-04806 Document #: 637 Filed: 01/25/23 Page 113 of 113 PageID #:16329



Appendix C

Materials Considered
The following is a list of materials I considered in preparing this Report:

 U.S. Patent D737,723 and its filing history

 U.S. Patent D738,256 and its filing history

 U.S. Patent D784,195 and its filing history

 U.S. Patent D785,112 and its filing history

 Prior Art cited on the face of each of the above patents.

 U.S. Patent No. D739,906 (filed March 12, 2013; issued September 29, 2015)

 The Accused Products “Gyroor A”, “Gyroor B”, “Gyroor C”, “Gyroor D” and “Gyroor E”

 Expert Declaration of Jim Gandy (signed September 12, 2022)

 Expert Declaration of Lance Rake (signed August 21, 2021)
